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     Although Devine suggested the use of $750 million in the presentation, ResCap was
represented by sophisticated bankruptcy advisors throughout the relevant period and
ultimately controlled which numbers were used. The $750 million figure included in the
presentation to the Steering Committee Group accurately reflected AFI’s highest offer as of
April 25, 2012 in connection with the AFI-ResCap settlement negotiations.1704

     After ResCap and AFI had settled on the amount and form of AFI’s settlement
contribution, Patrick made a demand that AFI increase its cash contribution by $150 million
“above the 750 + 200 + 100 previously agreed.”1705 As Patrick explained, she “tried very hard
to get partly at [Lee’s] urging, another $100 or $150 million in cash out of AFI. And it almost
broke everything.”1706 Lee stated that he believed it was his “obligation to take one final crack
at AFI to get more money . . . . And I went back to Tim Devine, and I think I told [Patrick] to
go back to Tim Devine and see if she could help me get more money.”1707 According to
Patrick, Devine conveyed the demand to Carpenter and then reported to her that he “had
almost been fired. . . . He looked white as a sheet.”1708 According to Devine, “[AFI] wasn’t
interested in negotiating with [Patrick] the dollar amount that was contained in the [AFI] and
ResCap settlement.”1709

     On May 9, 2012, Devine e-mailed Lee and stated that “[t]here is no new [AFI] money.
Hard stop at 750 + 200 + 100.”1710 Based on that e-mail, it appears AFI had decided that,
regardless of the ultimate terms of the Plan Support Agreements, AFI would not agree to
contribute any additional funds into the Estates before the bankruptcy filing.1711

              e. ResCap And AFI Board Approvals For AFI Settlement And Plan Sponsor
                 Agreement And Bankruptcy Filing

    On May 4, 2012, all of the independent directors of AFI, in addition to Carpenter,
consented to the declaration of a bankruptcy by ResCap.1712 On May 9, 2012, the AFI Board
consented to waive its rights to approve certain actions by ResCap, including, among other
1704 See Summary Discussion of Ally Financial Inc. Support For a ResCap Chapter 11 Plan of Reorganization,

    dated Apr. 19, 2012, at 1 [RCES00002362] (attached to E-mail from A. Grossi to L. Nashelsky, J.
    Tanenbaum, and G. Lee (Apr. 19, 2012) [RCES00002361]).
1705 E-mail from T. Devine to M. Carpenter (May 8, 2012), at CCM00565465 [CCM00565463].

1706 Int. of K. Patrick, Mar. 18, 2013, at 91:23–92:7.

1707 Int. of G. Lee, Feb. 20, 2013, at 327:4–18.

1708 Int. of K. Patrick, Mar. 18, 2013, at 175:1–177:4.

1709 Int. of T. Devine, Mar. 19, 2013, at 130:2–133:1.

1710 E-mail from T. Devine to G. Lee (May 9, 2012) [EXAM00180215]; Dep. of T. Devine, Nov. 19, 2012, at

    229:24–230:6.
1711 See Dep. of T. Devine, Nov. 19, 2012, at 233:20–234:4.

1712 AllyFinancial Inc. Consent          to   Action,     dated    May   4,   2012,   at   ALLY_PEO_0020551–59
    [ALLY_PEO_0020479].

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things, ResCap’s ability to enter into any legal settlement greater than $25 million and
ResCap’s ability to divest a major line of business or exit major business activities.1713

     On May 13, 2012, the ResCap Board formally authorized Ilany and Mack to execute the
AFI Settlement and Plan Sponsor Agreement.1714 Marano testified that the ResCap Board
concluded that the settlement with AFI was “fair” based on the recommendation of the
“independent directors who . . . told us this was the best deal they could get.”1715

     Marano noted that, although the ResCap Board “got the best deal we could get from
[AFI] at the time we filed,” the ResCap Board “knew there would be an opportunity to
challenge that settlement and to have another bite at the apple.”1716 James Tanenbaum of
Morrison & Foerster agreed with Marano. Tanenbaum asserted that the settlement was “within
the range of a fair offer because it permitted so much more to be done that protected and
enhanced the value of the estate.”1717 However, he went on to note that he did not think at that
time that the AFI settlement contribution would be sufficient “to get the creditors to bite off
and be satisfied.”1718 He further explained:

                  [T]here was a high likelihood that [AFI’s settlement
                  contribution] would not remain as is and would have to be
                  increased by [AFI] pretty substantially in order to get a
                  settlement. So it was one of those very good opportunities for a
                  company to be able to obtain financing and obtain the
                  wherewithal to effect an orderly filing and maintain an
                  enterprise preserving great value in bankruptcy while at the
                  same time having an opportunity to recut the settlement number
                  in the future which I thought was an exceptional opportunity. To
                  bring it to very granular level, look at the asset sales. They were




1713 AllyFinancial Inc. Consent         to   Action,    dated    May   9,   2012,   at   ALLY_PEO_0020560–69
    [ALLY_PEO_0020479].
1714 Minutes
          of a Special Meeting of the Board of Residential Capital, LLC, May 13, 2012, at 9
    [EXAM00184467].
1715 Dep. of T. Marano, Nov. 12, 2012, at 194:8–18.

1716 Id. at 191:9–195:12.

1717 Int. of J. Tanenbaum, Mar. 29, 2013, at 227:7–230:18.

1718 Id.



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                  terrific. That wouldn’t have been a possibility in the absence of
                  reaching a settlement number with [AFI].1719

             f. AFI Settlement And Plan Sponsor Agreement As Filed

    On the Petition Date, the Debtors and AFI entered into the AFI Settlement and Plan
Sponsor Agreement, which set forth the terms of the global settlement between the Debtors
and AFI and its direct and indirect subsidiaries and affiliates other than the Debtors. These
terms were to be implemented in a chapter 11 plan consistent with the Plan Term Sheet.

                  (1) AFI Settlement And Plan Sponsor Agreement Termination

     The AFI Settlement and Plan Sponsor Agreement was terminated by the Debtors as of
February 28, 2013.1720 As a result, AFI is not obligated to make the $750 million cash
contribution nor is AFI entitled to receive any releases from the Debtors or any Third-Party
Claimants.1721 However, AFI has not withdrawn its offer to provide a $750 million cash
contribution to the Debtors’ estates “if an acceptable settlement can be reached.”1722

     Prior to the expiration of the AFI Settlement and Plan Sponsor Agreement, AFI fulfilled
the following obligations: (1) served as the stalking horse bidder for the Legacy
1719 Id. According to Lee:


         We meaningfully negotiated the plan support agreement so that we, ResCap on behalf of our
         creditors, would get all of the benefits of origination and bankruptcy and support and the ability to
         sell a clean platform. And AFI left itself with the risk that at the end of that process, we would have
         sold a clean servicing platform and gotten all the money in, and there would be no settlement with
         it. I mean, that’s been their risk throughout this process. . . . And the reality is, ResCap was focused
         on getting a clean sale because the view of the board and the management was that a clean sale and
         a robust auction would generate the most value in this case. And everybody who signed the plan
         support agreement had taken a risk that that value will come in and they’ll be left with, you know, a
         litigated claim, in [Patrick’s] case depending on what happens with the settlement. In AFI’s case
         creditor reaction to a $750 million settlement.

    Int. of G. Lee, Feb. 20, 2013, at 291:1–292:7.
1720 Ally Financial Inc., Annual Report (Form 10-K) (Mar. 1, 2013), at 17.


1721 Id. at 17–18. The Debtors were permitted to terminate their obligations under the AFI Settlement and Plan

    Sponsor Agreement, including the obligation to seek approval of a plan that provides a Third-Party Release,
    if they made a good faith determination that an alternative restructuring was “reasonably likely to be more
    favorable to the Debtors’ estates, their creditors, and other parties to whom the Debtors owe fiduciary duties”
    than the restructuring contemplated by the Plan Term Sheet. See AFI Settlement and Plan Sponsor
    Agreement, § 3.2(c). Following such determination to pursue an alternative restructuring, AFI’s only
    remaining obligations under the AFI Settlement and Plan Sponsor Agreement are to continue (a) performing
    under the Shared Services Agreement, and (b) providing ResCap with the use of cash collateral pursuant to
    the terms of the Cash Collateral Order. See id. § 7.6.
1722 Ally Financial Inc., Quarterly Report (Form 10-Q) (May 1, 2013), at 11.



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Sale with no break-up fees or other bid protections (until replaced by Berkshire Hathaway
pursuant to Bankruptcy Court order on June 28, 2012) ;1723 (2) provided consumer lending
origination support through and until the closing of the Platform Sale;1724 (3) provided up to
$220 million of DIP financing and provided ResCap with the use of cash collateral;1725
(4) performed under the Shared Services Agreement;1726 and (5) negotiated and entered into a
transition services agreement with the purchaser in connection with the Platform Sale.1727

     The AFI Settlement and Plan Sponsor Agreement would have obligated AFI to make the
following additional contributions to the Debtors in exchange for the Debtor Release and
Third-Party Release: (1) provide a cash contribution to the Debtors in the amount of $750
million, to be used to fund the settlement of pending and future claims and to secure the
Debtor Release and Third-Party Release;1728 and (2) release the Debtors and all related persons
from any and all causes of action arising from or related in any way to the Debtors.1729




1723 AFI Settlement and Plan Sponsor Agreement, § 2.1(b). AFI submitted an original stalking horse bid of $1.6

    billion if the assets were sold pursuant to a plan that provided a Third-Party Release but only $1.4 billion if
    the assets were sold in a section 363 sale. See id. Although the Debtors selected Berkshire Hathaway as the
    stalking horse, the Debtors assert that AFI complied with its obligations under the AFI Settlement and Plan
    Sponsor Agreement to act as the stalking horse for the Legacy Sale and that AFI’s stalking horse bid was
    valuable to the estate because it set a floor on bidding. See Transcript of Hearing at 8:4–11, In re Residential
    Capital, LLC, No. 12-12020 (Bankr. S.D.N.Y. June 6, 2012).
1724 AFI Settlement and Plan Sponsor Agreement, § 2.1(h).

1725 Id. §§ 2.1(d), (f).

1726 Id. § 2.1(c).

1727 Id. § 2.1(e).

1728 Id. § 2.1(a).

1729 Id. at § 2.3. Specifically, AFI agreed that on the Effective Date of the Plan it and its direct and indirect

    subsidiaries and affiliates other than the Debtors would release the Debtors and each of their respective
    members, officers, directors, agents, financial advisors, attorneys, employees, partners, affiliates, and
    representatives and their respective properties from any and all Causes of Action, whether known or
    unknown, whether for tort, fraud, contract, violations of federal or state securities laws, or otherwise, arising
    from or related in any way to the Debtors, including those that AFI or any of its direct or indirect subsidiaries
    or affiliates (other than the Debtors) would have been legally entitled to assert against any of the parties
    above in their own right (whether individually or collectively). However, the following claims held by AFI
    against the Debtors were specifically carved out of this release: (1) claims under the A&R Secured Revolver
    Loan Agreement, (2) claims under the A&R Line of Credit Agreement, and (3) claims arising after the
    Petition Date in the ordinary course of business or otherwise agreed to by the Debtors and AFI. Id.

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                    (2) Debtor Release And Third-Party Release

     The Debtors’ settlement with AFI was built around releases that each party purported to
grant to the other and, significantly, the proposed Third-Party Release. The scope of the
Claims that would have been released was extremely broad. First, the Debtors agreed to
provide the Debtor Release, as follows: 1730

                    On and as of the Effective Date, for the good and valuable
                    consideration provided by each of the [AFI] Released Parties,
                    including: (a) the discharge of debt and all other good and
                    valuable consideration provided pursuant to the Plan;
                    (b) pursuant to the terms of [the AFI Settlement and Plan
                    Sponsor Agreement]; and (c) the services of the Debtors’
                    present officers and directors in facilitating the expeditious
                    implementation of the restructuring contemplated by the Plan,
                    each of the Debtors shall provide a full discharge and release to
                    the [AFI] Released Parties (and each such [AFI Released Party]
                    so released shall be deemed released and discharged by the
                    Debtors)) and their respective properties from any and all
                    Causes of Action, whether known or unknown, whether for tort,
                    fraud, contract, violations of federal or state securities laws, or
                    otherwise, including those Causes of Action based on avoidance
                    liability under federal or state laws, veil piercing or alter-ego
                    theories of liability, a theory of debt recharacterization, or
                    equitable subordination liability, arising from or related in any
                    way to the Debtors, including those that any of the Debtors or
                    Reorganized Debtors would have been legally entitled to assert
                    against a[n AFI] Released Party in their own right (whether
                    individually or collectively) or that any holder of a Claim or
                    Interest or other entity, would have been legally entitled to
                    assert on behalf of any of the Debtors or any of their Estates,
                    including those in any way related to the [Chapter 11] Cases or
                    the Plan to the fullest extent of the law; provided that [AFI] shall
                    reaffirm its obligations under Section 2.2 [of the AFI Settlement
                    and Plan Sponsor Agreement] in conjunction with the Plan;
                    provided, further, that the Debtors’ rights to any insurance shall
                    not be adversely affected.1731




1730 Capitalized terms used in the quoted text but not otherwise defined herein shall have the meanings ascribed

    to such terms in Article I of the AFI Settlement and Plan Sponsor Agreement.
1731 Id. § 3.1(d)(i).



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       The proposed Third-Party Releases were just as broad, providing:

                  On and as of the Effective Date, the holders of Claims and
                  Interests shall be deemed to provide a full discharge and release
                  to the [AFI] Released Parties and their respective property from
                  any and all Causes of Action, whether known or unknown,
                  whether for tort, fraud, contract, violations of federal or state
                  securities laws, veil piercing or alter-ego theories of liability, or
                  otherwise, arising from or related in any way to the Debtors,
                  including those in any way related to residential mortgage
                  backed securities issued and/or sold by Debtors and/or the
                  Chapter 11 Cases or the Plan; provided that claims of the
                  Debtors’ directors and officers against [AFI] pursuant to [AFI]’s
                  indemnification obligations and Section 2.2 [of the AFI
                  Settlement and Plan Sponsor Agreement] (as well as any
                  applicable insurance related thereto) shall not be released.1732

      The importance of the releases, particularly to AFI and its affiliates, was underscored by
the parties’ identification in the AFI Settlement and Plan Sponsor Agreement of the numerous
Causes of Action the Debtors and AFI believe to exist between the parties. The Debtors
asserted that the Debtors’ Estates have claims against AFI relating to the corporate
relationship between the Debtors and AFI, including equitable subordination, debt
recharacterization, fraudulent conveyance, avoidance liability under federal or state laws, and
other claims under theories of veil piercing and alter ego liability.1733 AFI maintained it has
substantial claims against the Debtors (although these claims—outside of funded debt—were
not identified in the AFI Settlement and Plan Sponsor Agreement or in any other document
produced by AFI).1734 Finally, the parties noted in the AFI Settlement and Plan Sponsor
Agreement that AFI and certain of its affiliates, including GMAC Mortgage Group LLC, Ally
Securities LLC, and Ally Bank, have been named as defendants in lawsuits brought by third
parties in connection with, or arising from, the Debtors’ business activities, including with
respect to residential mortgage backed securities issued and/or sold by the Debtors.1735 All of
these claims were also purposed to be released, which made the Third-Party Release a
valuable component of the AFI Settlement and Plan Sponsor Agreement for AFI.




1732 Id. § 3.1(d)(ii). On August 23, 2012, the Debtors filed a motion which attached a draft Plan that modified the

    release language for the proposed Debtor Release and Third-Party Release. See Debtors’ Motion for the
    Entry of an Order Extending Their Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances
    Thereof [Docket No. 1248] at Ex. 1. As of the date of the Examiner’s Report, the Debtors have not filed a
    Plan that includes either the Debtor Release or Third-Party Releases.
1733 AFI Settlement and Plan Sponsor Agreement, at 1.

1734 Id.

1735 Id. at 2.



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                     (3) Debtors’ Obligations Under AFI Settlement And Plan Sponsor Agreement

      Pursuant to the terms of the AFI Settlement and Plan Sponsor Agreement, the Debtors
were obligated to (1) use commercially reasonable efforts to obtain approval of the Debtors’
obligations under the AFI Settlement and Plan Sponsor Agreement;1736 (2) use good faith
efforts to file and prosecute the Plan as set forth in the Plan Term Sheet;1737 (3) perform all of
the obligations required under the Consent Materials and fund any and all costs related to such
performance through and until the closing of the Platform Sale;1738 and (4) obtain entry of a
Confirmation Order that allows the following claims held by AFI against the Debtors in full:
(a) claims under the A&R Secured Revolver Loan Agreement; (b) claims under the A&R Line
of Credit Agreement; and (c) claims arising after the Petition Date in the ordinary course of
business or otherwise agreed to by the Debtors and AFI.1739

               g. Examiner’s Conclusions Regarding Process Resulting In AFI Settlement and
                  Plan Sponsor Agreement

     Pursuant to the Examiner Scope Approval Order, the Examiner reviewed the process that
resulted in the AFI Settlement and Plan Sponsor Agreement, including the activities of the
ResCap Board in connection with that agreement. Although the AFI Settlement and Plan
Sponsor Agreement has been terminated, a review of the settlement process remains relevant.
AFI has not withdrawn its offer to provide a $750 million cash contribution to the Debtors’
Estates “if an acceptable settlement can be reached.”1740 As described below, the Investigation
identified a number of issues that raise significant doubts as to whether ResCap’s process
reaching the AFI Settlement and Plan Sponsor Agreement was adequate. While a close
question, the Examiner concludes it is more likely than not that a court would have found that
the now-terminated AFI Settlement and Plan Sponsor Agreement was the product of a
defective or deficient process.

                     (1) Morrison & Foerster’s Investigation Of Legal Claims

     In November 2011, ResCap appointed two new independent directors, Jonathan Ilany and
John Mack, to act as the Special Review Committee of the ResCap Board and “implement[] a
process and procedure for the review and assessment” of Affiliate Transactions, the historical
course of dealing between ResCap and AFI, and potential claims arising therefrom.1741 Despite
1736 Id. § 3.1(a).

1737 Id. § 3.1(b).

1738 Id. § 3.1(c). After the Platform Sale, unless the purchaser assumes such obligations on terms reasonably

    acceptable to AFI, the Debtors were required to escrow proceeds from the asset sales to fund any remaining
    obligations. See id.
1739 Id. § 3.1(e).

1740 Ally Financial Inc., Quarterly Report (Form 10-Q) (May 1, 2013), at 11.

1741 See Residential Capital, LLC Resolutions for Adoption by the Board of Directors, dated Dec. 5, 2011, at

    RC40020104 [RC40020073]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 5,
    2011, at RC40018719–20 [RC40018411].

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authorization to engage independent counsel at the expense of ResCap, Ilany and Mack relied
on Morrison & Foerster to perform that review.

     Morrison & Foerster’s decision that it could “independently” assess the “financial and
operational course of dealing between [AFI] and ResCap”1742 is questionable in light of the
firm’s significant involvement in that very course of dealing during the preceding years. From
September 2008 through November 2011, Morrison & Foerster attended over 100 ResCap
Board meetings, including meetings at which discussions occurred regarding Affiliate
Transactions subject to the Special Review Committee’s scrutiny. Morrison & Foerster
acknowledged that it had advised the ResCap Board on a variety of issues relating to the
Affiliate Transactions and corporate governance,1743 but did not believe it had a conflict of
interest in investigating its prior work.1744

     In light of Morrison & Foerster’s history advising the ResCap Board, Ilany and Mack
should have questioned whether Morrison & Foerster was the appropriate firm to perform the
investigation and, at a minimum, Ilany and Mack should have discussed the potential conflict
with Morrison & Foerster. But Morrison & Foerster’s potential conflict did not cause Ilany or
Mack any concern. Ilany explained that “the lawyers that have conflicts tell you that they have
conflicts. I’m not a lawyer.”1745

     Notwithstanding the possible conflicts of interest, Morrison & Foerster conducted the
investigation and presented “the initial results of their independent review of historical
transactions” to the ResCap Board on January 25, 2012. The investigation was conducted
within a relatively compressed period. As such, in the course of its investigation, Morrison &
Foerster did not review any contemporaneous e-mails and did not have access to any AFI files
other than certain AFI Board materials.1746 The scope of Morrison & Foerster’s written
materials to the ResCap Board was limited: those materials did not review direct Third-Party
Claims against AFI; nor did they analyze breach of fiduciary duty claims against ResCap’s
directors and officers that could have given rise to claims against AFI for aiding and abetting
breach of fiduciary duty.1747
1742 Morrison
            & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023718 [RC00023710].
1743 Int. of J. Tanenbaum, Mar. 29, 2013, at 217:6–22.

1744 Id. at 215:6–219:21.

1745 Int. of J. Ilany, Nov. 28, 2012, at 117:2–120:21 (stating he was not concerned by the use of potentially

    conflicted lawyers because “they are professionals . . . bound by duty to me and they are my advisors”).
1746 Meetingwith Morrison & Foerster, Counsel to the Debtors, in N.Y., N.Y. (July 20, 2012); see also
    Morrison & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023720–21 [RC00023710].
1747 Morrison   & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012
    [RC00023710]. Gary Lee of Morrison & Foerster asserted that the firm considered Third-Party Claims in its
    investigation, see Int. of G. Lee, Feb. 20, 2013, at 59:12–60:21, 222:14–223:1, but Lee could not recall
    whether Morrison & Foerster had investigated breach of fiduciary duty claims, see id. at 219:1–9.

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      Perhaps because of the compressed period in which it conducted its investigation,
Morrison & Foerster failed to inform the ResCap Board of significant Estate Causes of
Action. For example, as discussed in Sections V.B.6 and VII.L.2.d, ResCap may have a claim
in excess of $500 million relating to misallocation of net revenues under the Broker
Agreement. Morrison & Foerster’s failure to explore the potential ramifications of this issue
with the ResCap Board as part of its investigation is surprising in light of the fact that, in
January 2012, Morrison & Foerster apparently advised ResCap in connection with its
investigation of the “whistleblower” allegations regarding this very claim.1748 In addition,
despite Morrison & Foerster’s involvement in the ResCap Board’s analysis and approval of
the First 2009 Tax Allocation Agreement, Morrison & Foerster did not investigate claims
arising from the tax allocation agreements or advise the ResCap Board that ResCap may have
a claim in excess of $1 billion relating to those agreements.1749 Although the Examiner does
not necessarily fault Morrison & Foerster for failing to report on all potential Estate Causes of
Action, there is little doubt that a more thorough investigation would have put the ResCap
Board in a better position to assess the claims against AFI.

     After receiving Morrison & Foerster’s presentation on ResCap’s potential claims against
AFI, Ilany and Mack approached the settlement negotiations with AFI as a business deal,
using these potential claims as a means to create “the existential threat, the threat that would
persuade somebody to write a very big check.”1750 But Ilany and Mack did not have an
adequate understanding of all of the legal claims involved. In particular, they had a very
limited understanding of Third-Party Claims, and it did not appear that Ilany and Mack
understood that these claims were proposed to be released as part of the settlement they were
negotiating. As discussed in Section IX, the threshold for obtaining third-party releases in the
Second Circuit is extremely high and, absent the consent of all or substantially all creditors, a
third-party release is very difficult to obtain. A nondebtor can provide consideration to a
debtor’s estate in attempt to obtain such a third-party release, but the consideration must be
substantial. There is no evidence that Morrison & Foerster explained to Ilany and Mack the
relevance of that high standard in connection with AFI’s request for a Third-Party Release.
And Ilany and Mack did not seem to have ascribed any value to the requested Third-Party
Release.1751 Instead, Mack and Ilany simply sought to achieve a “headline number” of
approximately $1 billion and, to get to that number, likely ascribed too much value to the non-
cash contributions from AFI.1752
1748 See Ally Global Security Investigation Report, dated Mar. 14, 2012, at RC40022054 [RC40022044] (noting

    that Morrison & Foerster reviewed “whether the definition of cost basis in the [MMLPSA] was consistent
    with the accounting agreement.”). For the Examiner’s full analysis of issues relating to GMAC Mortgage’s
    contracts with Ally Bank, see Sections V.B and VII.L.
1749 For the Examiner’s full analysis of tax sharing and allocation issues, see Sections V.D and VII.K.

1750 Int. of G. Lee, Feb. 20, 2013, at 125:7–20.

1751 See Int. of J. Mack, Jan. 15, 2013, at 206:3–209:16 (Mack assigned “no specific value” to a Third-Party

    Release); Int. of J. Ilany, Nov. 28, 2012, at 157:6–15 (failing to remember that the AFI Settlement and Plan
    Sponsor Agreement included a proposed Third-Party Release for AFI and did not remember considering the
    value of Third-Party Claims for purposes of agreeing to a Third-Party Release).
1752 For the Examiner’s full analysis of proposed consideration for releases, see Section IX.



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                 (2) Apparent Agreement On $850 Million Cash Contribution From AFI

     Ilany was the primary negotiator for ResCap with respect to the AFI Settlement and Plan
Sponsor Agreement, although Mack was also involved in portions of the negotiations. ResCap
and AFI purportedly reached an agreement in principle in late April 2012. On April 30, 2012,
the date of Ilany’s final recorded involvement in the settlement negotiations, the ResCap
Board was presented with a draft settlement agreement which contemplated that “[AFI] will
make a Cash contribution to the Debtors in the amount of $850 million.”1753 Mack, who had
been involved in the settlement negotiations in a more limited capacity before then, at that
point apparently took over for Ilany. Mack testified that AFI never agreed to a cash
contribution of $850 million and explained that the April 30, 2012 draft settlement agreement
was merely an “effort” by ResCap “to get a greater contribution from [AFI].”1754 The
documentary evidence does not support that recollection.

      ResCap and AFI exchanged draft settlement agreements on May 2, 3, and 4. On May 2,
AFI’s counsel, Kirkland & Ellis, sent a draft settlement agreement to Morrison & Foerster that
provided that AFI would make a cash contribution of $850 million, but tied such contribution
to a successful sale of the Ally Bank MSR portfolio.1755 Given the inherent uncertainty in such
a transaction, ResCap and its representatives insisted on a “back stop” under which AFI would
be required to fund the settlement amount with $850 million in cash, whether or not it was
successful in selling the Ally Bank MSR portfolio.1756 On May 3, Morrison & Foerster
responded to AFI with a draft settlement agreement that provided that AFI would make a cash
contribution of $850 million, not conditioned on any outcome with respect to the proposed
MSR sale. On May 4, at approximately 11:40 p.m., Kirkland & Ellis sent a “draft settlement
agreement incorporating AFI’s comments” providing:

                 [AFI] will make a Cash contribution to the Debtors in the
                 amount of $850,000,000. Without limiting the forgoing, to the
                 extent that the Purchaser agrees to purchase the Ally MSR . . .
                 [AFI] shall make such contribution by contributing the Ally
                 MSR to the Debtors . . . .1757
1753 Draft Settlement Agreement, dated Apr. 30, 2012, at RC40020541 [RC40020521].


1754 Dep. of J. Mack, Nov. 14, 2012, at 124:7–125:16; see also Int. of J. Mack, Jan. 15, 2013, at 185:19–186:14

   (stating that AFI’s proposed settlement contribution “never got above $750 [million] in conversations
   between [Carpenter] and myself. . . . [T]here was at one time an attempt to get it to be greater than that. And
   that appeared in a document, but that was never something that [Carpenter] had ever agreed to”).
1755 Blackline Draft Settlement Agreement, dated May 2, 2012, at 6 [CCM00449236] (attached to E-mail from N.

   Ornstein to L. Nashelsky and G. Lee (May 2, 2012) [CCM00449220]).
1756 See E-mail from G. Lee to T. Devine (May 4, 2012) [ALLY_0334556]; see also E-mail from T. Marano to

   M. Carpenter (May 4, 2012) [RC40027673]; Draft Settlement Agreement, dated May 3, 2012, at 6–7
   [RCES00001557] (attached to E-mail from T. Goren (May 3, 2012) [RCES00001556]).
1757 Draft Settlement Agreement, dated May 4, 2012, at 6 [RCES00001523] (attached to E-mail from M. Meltzer

   to L. Nashelsky and G. Lee (May 4, 2012) [RCES00001506]).

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There were no brackets around the $850 million (as there had been in drafts prior to April 30,
2012) to suggest the amount remained subject to further negotiation and, moreover,
Kirkland & Ellis deleted the phrase “[To be discussed]” from the “Cash Contribution” section
of the draft settlement agreement.1758

     Approximately twelve hours later, seemingly without explanation, Kirkland & Ellis sent
a revised draft settlement agreement to Morrison & Foerster that revised AFI’s settlement
contribution to either $750 million in cash or $850 million upon the successful sale of the Ally
Bank MSR.1759 AFI’s revised offer was accepted by Marano on behalf of ResCap.1760 Marano
had not been involved in any of the prior negotiations regarding the amount of AFI’s cash
contribution. It is therefore not clear why Marano, rather than either Ilany or Mack, conveyed
ResCap’s acceptance to Carpenter.

     The form of AFI’s settlement contribution—whether cash or MSR—should not have had
any impact on the proposed amount of the contribution. The MSR contribution was essentially
equivalent to a cash contribution because it was dependent upon a third party purchasing the
portfolio and providing cash to ResCap. Indeed, Carpenter recognized that MSR and cash
were “fungible.”1761 Any alert negotiator should have recognized that there was an additional
$100 million of settlement value available for ResCap’s taking.

      The sudden reduction of AFI’s settlement amount by $100 million, with no record of any
real protest from Ilany (who was not present) or Mack, raises serious questions as to ResCap’s
settlement process. It would appear that, whether by miscommunication or lack of aggressive
negotiation, ResCap left that value on the table.

                 (3) ResCap’s “Second Bite At The Apple”

     The deficiencies in the process leading to the AFI Settlement and Plan Sponsor
Agreement are perhaps mitigated by ResCap’s understanding that AFI’s cash contribution was
not the most important aspect of the “elegant” bankruptcy ResCap was seeking. Tanenbaum
explained that ResCap viewed the settlement with AFI primarily as an opportunity “to effect
an orderly [bankruptcy] filing and maintain an enterprise preserving great value in
bankruptcy.”1762 Marano testified that ResCap knew it would have “another bite at the apple”
with respect to the amount of AFI’s cash contribution.1763 Tanenbaum candidly explained that
1758 Blackline Draft Settlement Agreement, dated May 4, 2012, at 6–7 [RCES00001507] (comparing ResCap’s

   May 3, 2012 draft to AFI’s May 4, 2012 draft) (attached to E-mail from M. Meltzer to L. Nashelsky and G.
   Lee (May 4, 2012) [RCES00001506]).
1759 Blackline Draft Settlement Agreement, dated May 4, 2012, at 6 [RCES00001459] (attached to E-mail from

   V. Cole to L. Nashelsky and G. Lee (May 5, 2012) [RCES00001443]).
1760 E-mail from T. Marano to M. Carpenter (May 6, 2012) [EXAM00002973].

1761 E-mail from M. Carpenter to L. Tessler (Apr. 19, 2012) [CCM00652320].

1762 Int. of J. Tanenbaum, Mar. 29, 2013, at 227:7–230:18.

1763 Dep. of T. Marano, Nov. 12, 2012, at 191:9–195:12.



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he expected the settlement would be “revised,” stating that the proposed $750 million “would
have to be increased by [AFI] pretty substantially in order to get a settlement” and that
ResCap was going to have an “opportunity to recut the settlement number in the future.”1764

      Viewed in that light, with the benefit of hindsight, and considering the termination of the
settlement by the Debtors and the ongoing settlement negotiations in the Chapter 11 Cases, the
pre-negotiated amount of AFI’s cash contribution may be of less importance. While AFI, for
its part, professed to be “very disappointed” and “very upset” that ResCap “turned their back”
on the settlement agreement,1765 Tanenbaum asserted his belief that AFI also expected that its
cash contribution would ultimately be “revised upward in connection with a resolution of
creditor issues.”1766

     4. Negotiation And Entry Into RMBS Trust Settlement Agreements And RMBS Plan
        Support Agreements

              a. Relevant Background Concerning Private Label RMBS And Potential
                 Representation And Warranty Liability

      ResCap and its affiliates underwrote and sold 392 separate securitizations of private label
RMBS between 2004 and 2007, with original principal balances totaling $221 billion.1767 In a
typical private label securitization, ResCap entities pooled together non-conforming mortgage
loans in their own names (“private label”) and conveyed the pool of loans to a newly formed
private label securitization trust (or SPE).1768 The PLS trust raised cash to purchase the
mortgage loans from ResCap and its affiliates by issuing RMBS to investors.1769 The securities
entitled their holders to receive the principal (including prepayments) and interest collected on
the mortgage loans in the PLS trust.1770

      In connection with securitization and loan sales, investors were provided various
representations and warranties related to the loans sold.1771 Such representations and
warranties were made on a deal-by-deal basis and pertained to, among other things, ownership
of the loan, the validity of the lien securing the loan, the loan’s compliance with the criteria
for inclusion in the transaction, the ability to deliver required documentation, and compliance
1764 Int. of J. Tanenbaum, Mar. 29, 2013, at 227:7–230:18.

1765 Int. of M. Carpenter, Mar. 4, 2013, at 272:14–274:3.

1766 Int. of J. Tanenbaum, Mar. 29, 2013, at 227:7–230:18.

1767 See Debtors’ Reply Brief Re Iridium Factors In Support Of Motion For Approval Of RMBS Settlement

    Agreements [Docket No. 2803] at 9. As explained in the First Day Affidavit, after the collapse of the
    mortgage loan industry in 2007, the Debtors ceased to be an active sponsor of PLS. See First Day Affidavit, ¶
    23 n.15.
1768 See First Day Affidavit, ¶ 23 n.15.

1769 Id.

1770 Id.

1771 Mortgage Contingencies Review with Disclosure Benchmarking, dated July 27, 2011, at 4 [RC40021333].



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with applicable laws.1772 As discussed below, certain RMBS Institutional Investors have
asserted claims against various ResCap entities for alleged breaches of such representations
and warranties included in the documentation governing the securitization trusts. The alleged
breaches relate to the quality of loans contributed by ResCap or its affiliates to the trusts.1773

      ResCap sought support from certain key creditor constituencies, including the RMBS
Institutional Investors, in connection with preparing for its chapter 11 bankruptcy filing.1774 At
the same time, AFI sought support from the RMBS Institutional Investors for a plan of
reorganization that would include a Third-Party Release in favor of AFI.1775

     Prior to filing bankruptcy, the Debtors and AFI negotiated two substantially similar
RMBS Trust Settlement Agreements and two substantially similar RMBS Plan Support
Agreements with the Steering Committee Group and the Talcott Franklin Group.1776 The
RMBS Trust Settlement Agreements seek to resolve, in exchange for an allowed general
unsecured claim of up to $8.7 billion, any alleged and potential representation and warranty
claims held by up to 392 securitization trusts in connection with approximately 1.6 million
mortgage loans and approximately $221 billion in original issue balance of associated RMBS,
comprising all such securities issued by the Debtors’ affiliates from 2004 to 2007 (the “Trust
R&W Claims”).1777 Pursuant to the RMBS Plan Support Agreements, the RMBS Institutional
Investors agreed, among other things, to support a plan that included a Third-Party Release in
favor of AFI.1778 In exchange, AFI agreed to support consummation of the RMBS Trust
Settlement Agreements and to make a significant contribution of value to the Debtors pursuant
to the AFI Settlement and Plan Sponsor Agreement.1779

               b. Scope Of The Investigation Of RMBS Trust Settlement Agreements And RMBS
                  Plan Support Agreements

     Consistent with the scope of the Investigation, the Examiner reviewed the process that
resulted in the RMBS Trust Settlement Agreements and RMBS Plan Support Agreements,
including the activities of the ResCap Board in connection with such agreements, and whether
such agreements were negotiated at arm’s length. As set forth in the Examiner Scope
1772 Id.

1773 RMBS Trust Settlement Agreements, at 1.

1774 See RMBS Plan Support Agreements, at 2–3; RMBS Trust Settlement Agreements, at 1–2.

1775 See RMBS Plan Support Agreements, at 2–3; RMBS Trust Settlement Agreements, at 2.

1776 See RMBS Plan Support Agreements; RMBS Trust Settlement Agreements.

1777 See Debtors’ Supplemental Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust

    Settlement Agreements [Docket No. 1176] at 1–2; Objection of the Official Committee of Unsecured
    Creditors to the Debtors’ Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust
    Settlement Agreements [Docket No. 2825]. at 1, 41.
1778 RMBS Plan Support Agreements, § 3.1(i).

1779 See id. § 4.



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Approval Order, the Examiner is not opining on whether the $8.7 billion unsecured claim
proposed to be allowed by the RMBS Trust Settlement Agreements falls within the range of
reasonableness. In connection with the pending contested motion before the Bankruptcy Court
to approve the RMBS Trust Settlement Agreements under Bankruptcy Rule 9019, the parties
engaged numerous experts to perform loan re-underwriting analyses and to estimate potential
cumulative lifetime loss ranges, among other things, to evaluate the proposed allowed claim
amount. The Examiner did not seek to duplicate the work of the parties’ experts. Those
analyses are, in any event, not within the scope of the Investigation, and it is within the
province of the Bankruptcy Court to determine the reasonableness of the settlement amount.

             c. Initiation Of Discussions With The Steering Committee Group

     On October 17, 2011, Kathy Patrick of the firm Gibbs & Bruns LLP—the lead counsel to
the Steering Committee Group and the institutional investors in the Countrywide Settlement—
sent a letter to William Solomon, General Counsel of AFI, advising him that her firm
represented a number of investment advisers and holders of RMBS issued and/or underwritten
by AFI and/or its affiliates, which collectively held 25% or more of the voting rights in 242
RMBS trusts issued or underwritten by AFI or one of its affiliates (with an aggregate
outstanding balance of more than $51 billion).1780 According to Patrick’s letter, “large
numbers of the mortgages securing the certificates held by [the Steering Committee Group]
were sold or deposited into the RMBS pools based on false and/or fraudulent representations
and warranties by the mortgage originators, sellers and/or depositors,”1781 and, as a result, AFI
and/or its affiliates have “substantial repurchase liability for such loans.”1782

     Patrick alleged that the evidence supporting such Trust R&W Claims included, among
other things, (1) excess early default and foreclosure rates in the relevant mortgage pools;
(2) an FHFA loan-level analysis, which purportedly showed that up to 49% of the mortgage
loans in AFI or ResCap RMBS breached certain representations and warranties; (3) MBIA’s
loan-level analysis (as reported in MBIA’s lawsuits against AFI), which purportedly showed
that high numbers of mortgages in the RMBS pools were ineligible at origination;




1780 See Letter from K. Patrick to W. Solomon (Oct. 17, 2011) [ALLY_0212896]. Patrick’s letter also indicated

    that the Steering Committee Group collectively held 50% or more of the voting rights in 173 RMBS trusts
    issued or underwritten by AFI or one of its affiliates (with an aggregate outstanding balance of more than $36
    billion). See id. at 1. As of February 1, 2013, the Steering Committee Group investors owned at least 25% of
    the voting rights in 300 of the securitizations issued by the Debtors. See Debtors’ Reply Brief Re Iridium
    Factors In Support Of Motion For Approval Of RMBS Settlement Agreements [Docket No. 2803] at 10.
1781 See Letter from K. Patrick to W. Solomon (Oct. 17, 2011), at 1 [ALLY_0212896].

1782 Id. at 3. Patrick explained that her letter was an “advocacy document” that was “basically making the point to

    Ally: this is your tar baby. And I will find a way to make it your tar baby no matter how much you try to pull
    it off.” Int. of K. Patrick, Mar. 18, 2013, at 41:22–42:5.

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(4) downgrades in the credit ratings of the certificates issued by the RMBS trusts; and
(5) AFI’s reserve in the amount of $829 million for repurchase liabilities as of June 30,
2011.1783

     The letter concluded with Patrick’s Steering Committee Group requesting a meeting “to
begin a constructive dialogue regarding these issues” with “appropriately senior legal and
business personnel.”1784

     On October 19, 2011, Solomon forwarded Patrick’s letter to, among others, Michael
Carpenter, CEO of AFI, Barbara Yastine, CEO and President of Ally Bank, Thomas Marano,
CEO of ResCap, and Tammy Hamzehpour, General Counsel of ResCap, and noted that
“Patrick represented the claimants in the $8.5 billion settlement with [Bank of America].”1785
Solomon added that he would meet with the litigation team and Tim Devine, Chief Counsel of
Litigation for the consolidated AFI/ResCap legal department,1786 “to develop a
recommend[ed] approach for dealing with this.”1787 In response to Solomon’s e-mail,
Carpenter suggested that “we should meet” with Patrick “but that it should be with Rescap
personnel with no one from [AFI] present.”1788

    After meeting with Devine,1789 Solomon sent a reply letter to Patrick on October 21, 2011
in which he indicated that “it would be inappropriate [for AFI] to engage [Patrick] on the
1783 See Letter from K. Patrick to W. Solomon (Oct. 17, 2011), at 1–2 [ALLY_0212896]. Patrick further alleged

    that AFI and/or ResCap, “as servicer and/or master servicer of mortgage loans securing the certificates held
    by [her firm’s] clients, has failed to observe and perform the covenants and agreements imposed on it by the
    governing agreements, and has failed to meet its duty to prudently service those mortgage loans . . . .” Id.
    at 2.
1784 Id. at 4.

1785 E-mail from W. Solomon (Oct. 19, 2011) [ALLY_0209221].

1786 Beginning in January 2011 and continuing until early 2012, Devine was the “main lawyer” advising the

    ResCap Board with respect to RMBS-related legal issues. See Int. of T. Devine, Mar. 19, 2013, at 12:3–18:17
    (noting that Hamzehpour “was frequently updated and in the loop.”); see also Minutes of a Special Meeting
    of the Board of Residential Capital, LLC, Sept. 7, 2011, at RC40018664 [RC40018411] (Devine updated the
    ResCap Board regarding a lawsuit filed by FHFA relating to the sale of private-label mortgage-backed
    securities to Freddie Mac); Minutes of a Regular Meeting of the Board of Residential Capital, LLC, July 1,
    2011, at RC40018628 [RC40018411] (Devine gave a “detailed presentation” to the ResCap Board regarding
    PLS investor litigation, representation and warranty litigation, and government subpoenas); Minutes of a
    Regular Meeting of the Board of Residential Capital, LLC, May 6, 2011, at RC40018459–60 [RC40018411]
    (showing that Devine gave the ResCap Board an overview of the “mortgage business litigation docket,” and
    noted that the legal staff “meets regularly with senior management to identify and communicate legal risk
    identified in litigation.”). Devine’s role in advising the ResCap Board with respect to RMBS-related legal
    issues appeared to significantly diminish after Morrison & Foerster was re-engaged as ResCap’s counsel in
    August 2011. Indeed, John Mack, who became a ResCap Independent Director in November 2011, testified
    that he does not know Devine. See Dep. of J. Mack, Nov. 14, 2012, at 43:19–21, 126:5–7.
1787 See E-mail from W. Solomon (Oct. 19, 2011) [ALLY_0209221].

1788 See E-mail from M. Carpenter (Oct. 19, 2011) [ALLY_0209221].

1789 See Dep. of T. Devine, Nov. 19, 2012, at 16:5–17:17.



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issues” because “[n]one of the transactions [Patrick] described in [her] letter involved
[AFI].”1790 Solomon provided Patrick with contact information for Hamzehpour.1791

     On October 25, 2011, Patrick responded by letter and indicated that she would forward
her October 17, 2011 letter to Hamzehpour, but insisted that AFI, as the ultimate parent and
indirect owner of the “parties to the pooling and serving agreements at issue, . . . ultimately
bear[s] the liability associated with the repurchase and servicing claims described in [the]
October 17 letter.”1792 Solomon forwarded Patrick’s October 25, 2012 letter to Carpenter,
Yastine, Marano, Devine, and Hamzehpour, among others, and wrote “[t]he issues are
beginning to crystallize. I do not intend answering.”1793

      On October 26, 2011, Hamzehpour sent a letter to Patrick and offered dates on which the
litigation team could meet with Patrick in ResCap’s Minneapolis offices, with no business
personnel present (despite Patrick’s request for business personnel to attend).1794 The letter
was transmitted on GMAC Mortgage letterhead and signed by Hamzehpour on behalf of
GMAC Mortgage in her capacity as general counsel.1795

     Prior to meeting with Patrick, certain members of the AFI and ResCap consolidated legal
team, including Devine, David Hagens, and John Ruckdaschel, discussed possible defenses to
the types of claims raised by the Steering Committee Group. In addition to the obvious
defense—arguing that certain of the representations and warranties had not been breached—
the group considered a “loss causation” defense, but did not attempt to quantify the potential
claims or defenses.1796 The group apparently did not consider a potential statute of limitations
defense.1797

     On November 21, 2011, Hamzehpour, Devine, Ruckdaschel,1798 and Hagens met with
Patrick and certain of her team members at ResCap’s offices in Minneapolis to discuss the
potential claims held by the Steering Committee Group.1799 According to Devine, “[t]he
1790 See Letter from W. Solomon to K. Patrick (Oct. 21, 2011) [EXAM00185054].

1791 See id.

1792 See Letter from K. Patrick to W. Solomon (Oct. 25, 2011) [EXAM40000700].

1793 E-mail from W. Solomon (Oct. 26, 2011) [ALLY_PEO_0042786].

1794 See Letter from T. Hamzehpour to K. Patrick (Oct. 26, 2011) [EXAM40000705].

1795 See id. It is not clear why Hamzehpour drafted the letter on behalf of GMAC Mortgage rather than ResCap.

    See Int. of W. Solomon, Mar. 19, 2013, at 92:22–93:9.
1796 See Dep. of J. Ruckdaschel, Nov. 8, 2012, at 34:5–39:4.

1797 See id. at 39:18–20.

1798 Patrick understood Ruckdaschel’s role to be that of the “data person” who understood ResCap’s
    securitization structures. Int. of K. Patrick, Mar. 18, 2013, at 21:9–22:9.
1799 See id. at 17:7–19:8; Int. of T. Devine, Mar. 19, 2013, at 21:21–22:11; Dep. of T. Hamzehpour, Nov. 13,

    2012, at 26:17–27:4, 27:8–28:22.

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conversation was, from our point of view, a ResCap conversation . . . .”1800 Devine stated that
he told Patrick “from the beginning” that “the contract claims which she purported to have . . .
would have been against other contracting counterparties, which were . . . in fact, subsidiaries
of the ResCap business.”1801

     When asked if there had been any discussion of the Steering Committee Group’s
potential claims against AFI, Devine stated that “[t]he meeting was expressly a ResCap
meeting. To the extent [that issue] came up, and it may have, I would have said . . . there’s no
claim. There’s no exposure to [AFI].”1802 Patrick recalled that Devine asked whether the
Steering Committee Group could agree to a resolution with ResCap independent of a
resolution with AFI and her answer was “of course, but then [AFI] will not get a release as a
part of any such deal.”1803

      At the meeting, Patrick rejected the argument that “loss causation” was a viable defense
to her clients’ claims and noted that the parties could spend “years and years litigating that
point.”1804 Hamzehpour understood that Patrick was seeking a settlement negotiation, and
recalled that Devine asked Patrick what she would view as a successful outcome.1805
According to Hamzehpour, Patrick stated that “she would like to arrive at an agreed
settlement” and asked for data access “to help refine [the Steering Committee Group’s]
exposure analysis.”1806 The meeting concluded with a discussion of the specific types of data
sought by Patrick and next steps,1807 which would include entering into confidentiality and
tolling agreements with respect to the Steering Committee Group’s potential claims.1808



1800 Int. of T. Devine, Mar. 19, 2013, at 23:6–12. There is some confusion with respect to who Devine was

    representing at the November 21, 2011 meeting. Devine testified that he “was there in [his] capacity as chief
    counsel for litigation for ResCap . . . .” Dep. of T. Devine, Nov. 19, 2012, at 360:15–361:3. Patrick stated
    that she believed Devine had dual roles at ResCap and AFI, but that Devine “appeared to be . . . acting for
    ResCap because he talked about . . . ResCap wanting to get a resolution; they may not be able to get one,
    depending on what [AFI] did or didn’t do.” Int. of K. Patrick, Mar. 18, 2013, at 17:16–19, 23:9–22.
    Ruckdaschel testified that, prior to 2012, Devine was the head of litigation for the entire enterprise and it was
    not clear whether anyone at the meeting with Patrick was representing AFI because “[a]t that time we were
    still the integrated global legal department.” Dep. of J. Ruckdaschel, Nov. 8, 2012, at 31:19–24, 44:10–45:21.
    Hamzehpour testified that “Devine from [AFI]” attended the meeting. Dep. of T. Hamzehpour, Nov. 13,
    2012, at 26:21–27:4.
1801 Int. of T. Devine, Mar. 19, 2013, at 23:6–25:22.

1802 Id. at 32:6–23.

1803 Int. of K. Patrick, Mar. 18, 2013, at 23:19–22, 25:23–26:3.

1804 See Dep. of J. Ruckdaschel, Nov. 8, 2012, at 43:16–44:9.

1805 See Dep. of T. Hamzehpour, Nov. 13, 2012, at 29:3–29:21.

1806 See id. at 29:22–30:5.

1807 See id. at 30:6–15.

1808 See id. at 34:17–35:7.



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      On December 7, 2011, David Sheeren of Gibbs & Bruns LLP sent an e-mail
to Hamzehpour attaching a draft confidentiality agreement and a draft tolling agreement.1809
The AFI/ResCap legal team decided that Devine would act as the primary “interface with
Patrick” on behalf of ResCap.1810 Pursuant to the AFI/ResCap plan for interacting with
Patrick,1811 on December 19, 2011, Devine sent a letter to Patrick seeking confirmation of the
identity of her clients.1812 Later that day, Patrick responded by e-mailing a letter containing a
list of the twenty entities that comprised the Steering Committee Group, and requested that
AFI promptly execute the proposed confidentiality agreement so that substantive discussions
could begin.1813

      In January 2012, Devine and Gibbs & Bruns LLP negotiated a confidentiality agreement
and a tolling agreement.1814 On January 20, 2012, Devine informed Solomon, Hamzehpour,
Hagens, and Ruckdaschel that negotiations regarding the terms of the tolling and forbearance
agreements were effectively concluded and “[w]e . . . got everything we needed.”1815 Devine
explained that he had demonstrated a “willingness to hear [Patrick] out, but skepticism over
their claims and over the vehicle she is proposing for resolution.”1816

     On March 9, 2012, Devine asked Jeff Cancelliere, a ResCap officer, and Todd Kushman
of AFI to perform certain calculations regarding “exposure to claims represented by Patrick
and Franklin.”1817 In his e-mail, Devine stated that, although Kushman and Cancelliere would
be responsible for the quantitative analyses, Devine would remain responsible for
“vocaliz[ing] or add[ing] legal limitations and caveats . . . .”1818 On March 22, 2012, the
Steering Committee Group provided a “template” spreadsheet relating to ResCap’s RMBS
deals and requested that ResCap populate the spreadsheet with GSE demand rates and
repurchase rates.1819

    On April 5, 2012, Devine and Patrick exchanged a short series of e-mails in which
Devine stated that progress was being made with respect to the information Patrick had
1809 See E-mail from D. Sheeren to T. Hamzehpour (Dec. 7, 2011) [ALLY_0158609].

1810 See Dep. of T. Devine, Nov. 19, 2012, at 43:14–18.

1811 See E-mail from T. Devine (Dec. 15, 2011) [ALLY_PEO_0042503].

1812 See Letter from T. Devine to K. Patrick (Dec. 19, 2011) [ALLY_0158616].

1813 See Letter from K. Patrick to T. Devine (Dec. 19, 2011) [ALLY_0158641].

1814 SeeE-mails between T. Devine, K. Patrick and D. Sheeren (Jan. 13, 2012) [ALLY_0158753]; E-mails
    between T. Devine, K. Patrick, S. Humphries, and D. Sheeren (Jan. 20, 2012) [ALLY_0158769]; Dep. of T.
    Hamzehpour, Nov. 13, 2012, at 37:20–38:11.
1815 E-mail from T. Devine (Jan. 20, 2012) [EXAM00230900].

1816 Id.

1817 E-mail from T. Devine (Mar. 9, 2012), at ALLY_0210958–59 [ALLY_0210958].

1818 Id.

1819 See E-mail from D. Sheeren to T. Devine (Mar. 22, 2012) [ALLY_0159888]; Dep. of T. Hamzehpour, Nov.

    13, 2012, at 46:15–47:5; Int. of K. Patrick, Mar. 18, 2013, at 26:21–28:12, 49:23–50:19.

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requested.1820 That same day, Patrick requested information concerning AFI and ResCap so
that her clients could perform an assessment of capital structure, substantive consolidation,
and successor liability issues, and build such “litigation risk” into their discount analysis.1821
Patrick explained that her clients sought that information for the purpose of analyzing past
transactions between AFI and ResCap “to understand whether there were any holes in the
fence, so to speak.”1822

     On April 16, 2012, Ruckdaschel returned the template spreadsheet to Patrick “populated
with aggregated data.”1823 According to Patrick, the April 16, 2012 spreadsheet did not contain
the GSE repurchase data she was looking for.1824 On April 30, 2012, ResCap provided Patrick
with an updated spreadsheet that included the requested GSE repurchase data.1825

              d. Initiation Of Discussions With The Talcott Franklin Group

     On November 18, 2011, Talcott Franklin of the firm Talcott Franklin, P.C. sent a letter to
Hamzehpour, advising her that his firm represented a number of holders of ownership interests
in securitization trusts backed by loans sold or serviced by RFC and/or its affiliates.1826
Franklin’s letter explained that his clients had “serious concerns regarding the manner in
which these Trusts have been serviced, including the negative impact certain RFC servicing
practices may have had on the borrowers whose loans back our investments.”1827



1820 See E-mail from T. Devine to K. Patrick (Apr. 5, 2012) [ALLY_0143539].

1821 See E-mail from K. Patrick to T. Devine (Apr. 5, 2012) [ALLY_0143539]. On April 16, 2012, at the request

    of Morrison & Foerster, Devine sent Patrick a draft confidentiality agreement which he explained was in
    addition to the existing confidentiality agreement and “was drafted to permit the sort of information
    exchange” Patrick had requested. See E-mail from T. Devine to K. Patrick (Apr. 16, 2012)
    [ALLY_0159943]. The additional confidentiality agreement was executed by Patrick on April 25, 2012. See
    Letter from T. Hamzehpour to K. Patrick (Apr. 25, 2012), at 1, 5 [ALLY_0159971].
1822 Int. of K. Patrick, Mar. 18, 2013, at 47:20–48:8.

1823 See E-mail from J. Ruckdaschel to K. Patrick (Apr. 16, 2012) [EXAM00191015]. FTI provided additional

    financial analytical support in connection with the analysis of ResCap’s potential RMBS repurchase
    exposure, analyzing information provided by ResCap and publicly available information. See Dep. of M.
    Renzi, Nov. 7, 2012, 19:9–26:7.
1824 Int. of K. Patrick, Mar. 18, 2013, at 49:23–50:19.

1825 See id. at 50:21–51:9, 68:15–70:2; E-mail from J. Ruckdaschel (Apr. 30, 2012) [ALLY_0159984]; GSE

    Repurchase Requests 04-08 Vintage, prepared by ResCap, dated Apr. 30, 2012 [ALLY_0159987] (attached
    to E-mail from J. Ruckdaschel (Apr. 30, 2012) [ALLY_0159984]).
1826 See Letter from T. Franklin to T. Hamzehpour (Nov. 18, 2011) [EXAM00215992]. According to the
    Debtors’ court filings, as of February 1, 2013, the Talcott Franklin Group investors owned at least 25% of the
    voting rights in 31 of the securitizations issued by the Debtors. See Debtors’ Reply Brief Re Iridium Factors
    In Support Of Motion For Approval Of RMBS Settlement Agreements [Docket No. 2803] at 10; see also
    Letter from T. Franklin to T. Hamzehpour (Nov. 18, 2011) [EXAM00215992].
1827 See Letter from T. Franklin to T. Hamzehpour (Nov. 18, 2011) [EXAM00215992].



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     After negotiating the terms of a tolling agreement with respect to the claims of Franklin’s
clients in December 2011,1828 Devine proposed to hold an in-person meeting to discuss those
claims.1829 The parties ultimately agreed to meet at ResCap’s Minneapolis offices in early
February 2012.1830 The meeting was subsequently rescheduled for February 28, 2012.1831

     Internally at ResCap and AFI, Devine took a leading role in addressing the claims of the
Talcott Franklin Group,1832 and indeed proposed the strategy for the February 28, 2012
meeting.1833 Specifically, Devine suggested that ResCap and AFI “use” the meeting to “smoke
them out regarding the extent to which [Franklin’s firm would be] prepared to act across their
various representations.”1834

      On February 28, 2012, Hamzehpour, Hagens, and Ruckdaschel met with Franklin at
ResCap’s offices in Minneapolis.1835 At that meeting, Franklin discussed who his clients were,
what he believed their claims to be, and then proposed a general strategy for resolving those
claims.1836 The settlement structure proposed by Franklin—which bore no resemblance to the
structure ultimately adopted in the RMBS Trust Settlement Agreements—would have
involved ResCap (or affiliated entities) repurchasing bonds from the Talcott Franklin Group,
packaging those bonds with additional collateral and then re-securitizing those bonds back to
the Talcott Franklin Group.1837 The meeting was concluded in much the same manner as the
initial meeting held between ResCap/AFI and Patrick, with promises that, among other things,
Franklin would provide additional information and evidence as to his clients’ holdings.1838
1828 See E-mails between T. Devine and T. Franklin (Dec. 23, 2011) [ALLY_0142715].

1829 E-mail from T. Devine to T. Franklin (Jan. 6, 2012) [ALLY_0142715].

1830 See E-mails between L. Rosten and T. Franklin (Jan. 9–12, 2012) [ALLY_0142721]; Dep. of T. Devine,

    Nov. 19, 2012, at 54:23–57:2.
1831 See E-mail from J. Phelps to T. Devine (Feb. 23, 2012), at ALLY_0209507 [ALLY_0209505]; E-mail from

    T. Devine (Feb. 23, 2012), at ALLY_0209506 [ALLY_0209505] (noting “we pushed them off at last minute
    on Feb 2 meeting”).
1832 See Dep. of T. Hamzehpour, Nov. 13, 2012, at 38:12–15; Dep. of T. Devine, Nov. 19, 2012, at 53:25–54:9.

1833 See E-mail from T. Devine (Feb. 23, 2012), at ALLY_0209506 [ALLY_0209505].

1834 See id. Additionally, Devine suggested that they “pre-set” Franklin’s expectations, such that ResCap and AFI

    would not be expected to respond or react during the meeting. Devine believed that the meeting would be an
    opportunity for ResCap and AFI to develop information about Franklin’s clients without having to provide
    information in return. Devine did, however, expect to face demands for information regarding insurance
    coverage and other facets of ResCap or AFI’s business. See id.
1835 See Dep. of T. Hamzehpour, Nov. 13, 2012, at 42:9–43:16. According to Hamzehpour, Devine did not attend

    the meeting with Franklin in Minneapolis. Id. at 43:17–43:19.
1836 See id. at 43:20–44:13.

1837 See  id. at 44:2–13. Hamzehpour stated that she asked some questions about how Franklin’s proposed
    settlement could be implemented. See id. at 44:19–45:2. The Examiner has uncovered no evidence to show
    that Franklin’s structure was ever seriously considered by ResCap or AFI.
1838 See id. at 45:3–12.



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             e. Negotiations Resulting In The RMBS Trust Settlement Agreements And RMBS
                Plan Support Agreements

     Although ResCap had initial discussions with both the Steering Committee Group and
the Talcott Franklin Group, ResCap primarily negotiated the terms of the RMBS Trust
Settlement Agreements (and the allowed amount of the Trust R&W Claims) with the Steering
Committee Group. As Gary Lee of Morrison & Foerster explained:

                  [P]ractically, they have very different footprints across the
                  trusts. . . . Patrick had a far greater concentration within the
                  trusts. So, if you’re talking about why one would negotiate with
                  her as opposed to him, I mean, she fundamentally, in a
                  bankruptcy, would have significant control over . . . your ability
                  to sell a business. . . . [H]er group, because they control the trust
                  to a sufficient extent, could kill a sale, full stop. . . . And that
                  wasn’t true for Talcott Franklin . . . .1839

      Before the substantive negotiations on the RMBS Trust Settlement Agreements began,
ResCap and AFI conducted analyses attempting to estimate the total potential Trust R&W
Claims. In an April 5, 2012 presentation to the ResCap Board, FTI estimated the Trust R&W
Claims to be approximately $6.1 billion.1840 According to Mark Renzi of FTI, the April 5,
2012 estimate may have been a “placeholder” while further analysis was ongoing.1841 As of
April 19, 2012, based on an analysis of estimated total losses and a range of defect rates from
10% to 20%, FTI estimated the potential Trust R&W Claims to range from $4.4 billion to $8.8
billion, with a midpoint of $6.6 billion.1842

      While there may have been confusion regarding Devine’s role at the November 21, 2011
meeting (as discussed above), by mid-April 2012, Devine was representing AFI only in
connection with RMBS settlement negotiations. In Devine’s words, the negotiations with the
Steering Committee Group were “about a potential bankruptcy deal, and people knew I wasn’t
representing ResCap in connection with the bankruptcy.”1843 Ruckdaschel, at his deposition,
testified repeatedly that he understood Devine to be representing AFI in the RMBS settlement
discussions in April and May 2012.1844 According to Patrick, by April 25, 2012, Devine “was
always talking for [AFI] and [Lee] was always talking for ResCap. And [Devine] was not
1839 Int. of G. Lee, Feb. 20, 2013, at 151:23–153:3.

1840 See
       Draft FTI Presentation to the Board of Residential Capital, LLC, dated Apr. 5, 2012, at 3–5
    [EXAM00176483].
1841 Dep. of M. Renzi, Nov. 7, 2012, at 31:3–19.

1842 Draft FTI Litigation Claims Presentation, dated Apr. 19, 2012, at 4–5 [EXAM00176361].

1843 Int. of T. Devine, Mar. 19, 2013, at 47:6–19; see also Dep. of T. Devine, Nov. 19, 2012, at 126:16–24 (“But

    clearly by that point I would have been participating in attorney-client discussions with the [AFI] client with
    regard to the Kathy Patrick discussions.”).
1844 Dep. of J. Ruckdaschel, Nov. 8, 2012, at 66:21–67:4, 110:10–20, 142:5–11.



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talking for ResCap. And [Lee] made clear to me at various points that ResCap was willing to
do things that [AFI] did not want them to do.”1845 Regardless, Devine remained a central
figure in the negotiations. At his deposition, Devine explained his role as “driving a deal to
conclusion” between ResCap, the RMBS Institutional Investors, and AFI.1846

     On April 17, 2012, Devine e-mailed Lee and Hamzehpour and described for Hamzehpour
a “very constructive” conversation he had the previous day with Lee.1847 In the e-mail, Devine
recommended that the next step in negotiations with Patrick should focus on “the structure of
the proposed outcomes, the potential for a substantial contribution from AFI, fragility of the
goal but clarity of purpose for comprehensive third-party releases, etc.”1848 Hamzehpour
understood Devine’s statement to mean that a Third-Party Release in favor of AFI would “be
required in order to achieve a substantial contribution from AFI.”1849 Devine explained that
“fragility of the process” was a reference to the fragility of selling the ResCap business as a
going concern, which required support from AFI.1850 According to Lee, notwithstanding
Devine’s e-mail, there was no “clarity of purpose” for a comprehensive Third-Party
Release.1851 Instead, as Lee explained, ResCap “care[s] about the releases only insofar as it’s a
vehicle to get what we think is the best deal we can from AFI.”1852

     On April 19, 2012, Devine arranged a meeting with the Steering Committee Group for
April 25, 2012 and contacted Lee and Hamzehpour to confirm their availability.1853 In
preparation for the meeting, FTI was directed by Morrison & Foerster to prepare a
hypothetical waterfall analysis presentation.1854

     On April 23, 2012, Devine sent Hamzehpour an e-mail setting out his proposed strategy
for the upcoming meeting with Patrick. Devine suggested that the presentation to Patrick
include assumptions of $3 billion, $4 billion, and $6 billion (rather than $4 billion, $5 billion,
and $6 billion) as the potential low, medium, and high amounts at which the Trust R&W
1845 Int. of K. Patrick, Mar. 18, 2013, at 140:14–141:20.

1846 Dep. of T. Devine, Nov. 19, 2012, at 248:4–249:4.

1847 E-mail from T. Devine to G. Lee and T. Hamzehpour (Apr. 17, 2012) [EXAM00345280].

1848 Id.

1849 Dep. of T. Hamzehpour, Nov. 13, 2012, at 50:3–17.

1850 See Int. of T. Devine, Mar. 19, 2013, at 82:23–83:24 (“[Patrick] was taking advantage of the fact that . . .

   [AFI] would put money in on the front end and would provide the indispensable support that only [AFI] could
   provide to sell the assets as a going concern. . . . And that’s what . . . the fragility of the process to my mind
   was . . . is this going to sell as something rather historic a going concern of this fifth largest mortgage servicer
   in the country or not?”).
1851 Int. of G. Lee, Feb. 20, 2013, at 288:22–25.

1852 Id. at 288:26–289:18.

1853 E-mail from T. Devine to T. Hamzehpour and G. Lee (Apr. 19, 2012) [EXAM00180025].

1854 See Dep. of M. Renzi, Nov. 7, 2012, at 36:13–37:7, 69:3–22.



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Claims might be allowed in a ResCap bankruptcy.1855 According to Devine, the goal was not
to convince Patrick that such a range was correct (indeed, he noted that Patrick would likely
dispute the range as “unrealistically low”), but rather to make Patrick aware that “ratcheting
up those ranges leads automatically to lower percentage recoveries, by simple math in light of
[the] fact that there will only be X or Y real dollars available.”1856 Such a message, Devine
believed, would clearly tell Patrick to “get on board.”1857 Hamzehpour responded by
indicating that it would be acceptable not to raise Patrick’s expectation, so long as the
projections provided to Patrick had a sound basis in the analytics.1858 In any event, Devine’s
proposed changes were probably irrelevant, as Patrick focused only on the “high” scenario
assumptions.1859

     As planned, various ResCap and AFI representatives met with Patrick and her team on
April 25, 2012 at Morrison & Foerster’s New York office.1860 According to Patrick, the
principal purpose of the meeting was not to negotiate “the price of the repurchase settlement,”
but rather to discuss the structure of the proposed sale of the ResCap servicing platform.1861
1855 See E-mail from T. Devine to T. Hamzehpour (Apr. 23, 2012) [EXAM00345835]; Dep. of T. Devine,
    Nov. 19, 2012, at 85:19–87:20. When asked why he proposed lowering the claim assumptions if he was not
    representing ResCap at the time, Devine explained, “I wasn’t representing ResCap in connection with the
    development of these plans. I was still representing ResCap with regard to the defense of the litigation. And
    so to me, as sort of a subject matter expert with regard to ResCap’s actual litigation exposure, I was saying
    those numbers don’t look right to me.” Int. of T. Devine, Mar. 19, 2013, at 42:4–16.
1856 See E-mail from T. Devine to T. Hamzehpour (Apr. 23, 2012) [EXAM00345835].

1857 See id.

1858 See E-mail from T. Hamzehpour to T. Devine (Apr. 23, 2012) [EXAM00345835]. Indeed, the “high” claim

    scenario presented to the Steering Committee Group was near the midpoint of FTI’s analysis. See Draft FTI
    Litigation Claims Presentation, dated Apr. 19, 2012, at 4–5 [EXAM00176361]. The range of potential claim
    amounts included in the April 25, 2012 presentation, while being deemed “reasonable for the purposes of
    negotiating,” were not necessarily reflective of ResCap’s opinion of the potential liability. See Dep. of M.
    Renzi, Nov. 7, 2012, at 74:16–75:2. At a minimum, ResCap “recognized that the [potential RMBS liability]
    was likely going to be higher than what was on the books and records of the company.” See id. at 62:20–23.
1859 Int. of K. Patrick, Mar. 18, 2013, at 101:17–102:8.

1860 See Dep. of T. Hamzehpour, Nov. 13, 2012, at 57:25–59:15; Int. of K. Patrick, Mar. 18, 2013, at 75:14–22.

    ResCap’s representatives included, among others, Hamzehpour, Renzi, Ruckdaschel, Lee, and Puntus. AFI’s
    representatives included Devine and two attorneys from Kirkland & Ellis, Rick Cieri and Ray Schrock. See
    Dep. of T. Hamzehpour, Nov. 13, 2012, at 57:25–59:15; Int. of K. Patrick, Mar. 18, 2013, at 75:14–22.
1861 Int. of K. Patrick, Mar. 18, 2013, at 78:25–80:25. Patrick explained that her clients had a “high degree of

    concern about the potential buyers for the servicing. And they wanted to be sure that the servicing would not
    be dumped out for dollars in derogation of servicing performance. . . . [P]eople treat this 9019 settlement as a
    repurchase settlement, but it was balled up . . . in a significant way with our willingness to consent to the sale
    of the servicing platform unobstructed.” Id. According to Patrick, Puntus, Nashelsky and Hamzehpour
    participated in the conversation regarding the servicing sale. See id. at 80:9–25. Puntus explained that
    Centerview’s role was to describe what ResCap was seeking to accomplish through an elegant bankruptcy
    filing and how it proposed to implement the process. See Dep. of M. Puntus, Nov. 5, 2012, at 54:8–18.
    Hamzehpour testified that she led a brief discussion regarding servicing standards. See Dep. of T.
    Hamzehpour, Nov. 13, 2012, at 59:22–60:9.

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When ResCap presented its position on the exposure to Trust R&W Claims, Lee walked
through the waterfall and “how they had approached sizing the potential claims.”1862 As
Devine had suggested, the final presentation used at the meeting reflected $3 billion (low), $4
billion (middle), and $6 billion (high) valuations for the allowed amount of the Trust R&W
Claims.1863 Patrick recalled stating at the meeting that $6 billion “was not enough . . . to settle
the case.”1864 She added, “I think I said I was closer to 11 or 11 and a half or 12 [billion].”1865

     The April 25, 2012 waterfall presentation also reflected Devine’s suggestion of $750
million, rather than $1 billion, as the highest settlement contribution from AFI.1866 Devine
participated in the portion of the meeting related to “the waterfall and the ranges of recoveries,
losses, et cetera, that were the topic of the discussion around the settlement,”1867 and took that
opportunity to inform Patrick that AFI would support a settlement on an allowed claim but
AFI would seek support from the Steering Committee Group for the Third-Party Release.1868
Patrick recalled that Rick Cieri of Kirkland & Ellis stated that AFI viewed the settlement
process as “extortion.”1869 According to Patrick, she responded as follows:

                  I said, “Well, I have a different view.” . . . “My view is, it’s just
                  a question of how much you want your IPO because you don’t
                  have to settle with me. I’ll settle with ResCap. We’ll . . . get this
                  done in the bankruptcy and you and I can go in down the road.
                  So I don’t view these as related, so don’t feel like you have to if
                  you don’t like the price.”1870




1862 Int. of K. Patrick, Mar. 18, 2013, at 78:6–141:14.

1863 See Centerview and FTI Discussion Materials Presentation, dated Apr. 25, 2012, at 7–11 [EXAM00176409];

    Dep. of T. Hamzehpour, Nov. 13, 2012, at 58:7–11. Renzi, who was responsible for portions of the
    presentation, agreed that Devine was involved in determining “what range to present for these negotiations,”
    but rejected the assertion that he simply did as instructed by Devine. See Dep. of M. Renzi, Nov. 7, 2012, at
    96:7–25, 99:6–101:4.
1864 Int. of K. Patrick, Mar. 18, 2013, at 94:9–95:19.

1865 Id. Patrick noted that the Apr. 25, 2012 meeting was not a negotiation session on the amount of the Trust

    R&W Claims, but that she nevertheless provided her “reactions” to the proposed allowed claim amount. See
    id.
1866 See Centerview and FTI Discussion Materials Presentation, dated Apr. 25, 2012, at 7–11 [EXAM00176409].

    For a discussion of the implications of Devine’s e-mail in connection with the negotiations of the AFI
    Settlement and Plan Sponsor Agreement, see Section III.J.3.d.
1867 Dep. of T. Hamzehpour, Nov. 13, 2012, at 60:14–25.

1868 See Dep. of T. Devine, Nov. 19, 2012, at 98:5–99:2.

1869 Int. of K. Patrick, Mar. 18, 2013, at 81:2–12.

1870 Id. at 81:13–24. Patrick noted that she ultimately concluded that the AFI contribution was “quite satisfactory

    given what we understood the liabilities and how we assessed them.” Id. at 81:25–82:10.

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Hamzehpour understood that AFI was “negotiating [the settlement] to the extent that if they were
making a contribution to ResCap in a settlement separately, they wanted Third-Party Releases
from [Patrick]. So the two things were related to each other somewhat.”1871

     Exhibit III.J.4.e—1 below reflects the estimated recovery to holders of Trust R&W
Claims—assuming a $6 billion claim amount, a $750 million cash contribution from AFI, and an
85% allocation of AFI’s cash contribution to creditors of GMAC Mortgage and RFC—as
presented to the Steering Committee Group on April 25, 2012.1872




      On April 27, 2012, Devine spoke with Patrick to discuss “next steps.”1873 Devine then sent
an e-mail to Solomon, Hamzehpour, Lee, Ruckdaschel, and AFI’s outside counsel at Kirkland &
Ellis providing an update on the conversation with Patrick.1874 According to Devine, Patrick had
presented the “‘input’ dollars as [ResCap and AFI] had presented” to the Steering Committee
Group, and the Steering Committee Group investors had authorized Patrick to continue working
1871 Dep. of T. Hamzehpour, Nov. 13, 2012, at 67:24–68:7. Devine reiterated the necessity of Third-Party Releases

   to Patrick in an e-mail on May 12, 2012, noting that Patrick’s support for Third-Party Releases was a “drop
   dead”—meaning non-negotiable—issue that AFI would insist on. See E-mail from T. Devine (May 12, 2012)
   [EXAM00345296]; Dep. of T. Devine, Nov. 19, 2012, at 281:12–282:8.
1872 See Centerview and FTI Discussion Materials Presentation, dated Apr. 25, 2012, at 7–11 [EXAM00176409].

1873 See E-mail from T. Devine to K. Patrick (Apr. 27, 2012) [EXAM00345814]. When asked why Patrick was

   communicating “next steps” directly with him (after he had made clear he was representing AFI only), Devine
   stated, “I think it was just force of habit that we had an easy, professional, clear working relationship and
   [Patrick] was relaying questions to me . . . .” Int. of T. Devine, Mar. 19, 2013, at 56:9–58:13. Devine explained
   that he distributed Patrick’s inquiries and messages to the appropriate parties at ResCap, Morrison & Foerster,
   AFI, or Kirkland & Ellis, or some combination thereof. See id.
1874 See E-mail from T. Devine (Apr. 27, 2012) [EXAM00345814].



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with ResCap and AFI towards resolving their claims.1875 He continued by noting that Patrick
intended to send follow up questions from her clients and that he would “forward them to all
on this e-mail so we can have both teams collaborate in drafting responses, ensuring alignment
at every step.”1876 Devine concluded by noting that “[t]his has been an exemplary team effort,
with expert support from both ‘sides.’”1877

     On May 1, 2012, Devine e-mailed the rest of the AFI/ResCap team, informing them that
Patrick was ready for them to present directly to the steering committee of her group of
investors via a web meeting.1878 He then followed up with the team, stating that the meeting
was set for May 3, 2012, and the “[o]nly presentation material will be the waterfall deck.”1879
According to Patrick, the May 3, 2012 meeting was “not a negotiation session, it was just a
presentation to my steering committee, so they had the same universe of information . . . about
the proposed structure . . . .”1880 The waterfall presentation given to the Steering Committee
Group on May 3, 2012 included the same scenarios as the waterfall presentation given to
Patrick and her colleagues on April 25, 2012.1881

    On May 4, 2012, Lee sent an e-mail to Devine and Hamzehpour regarding a series of
meetings and calls with Patrick. According to Lee, Patrick proposed the following:

                  1. ResCap and the [Steering Committee Group] will settle all
                  claims (including servicing and contract claims) other than
                  securities claims (which she does not control).

                  2. The settlement will be effectuated through a motion under
                  Rule 9019 . . . .

                  3. In exchange, ResCap will give the [Steering Committee
                  Group] an allowed claim that will be characterised as a cure
                  payment (ie to cure loan repurchase and service defects).

                  4. The [Steering Committee Group] will enter into a plan
                  support agreement which would support the DIP, sale, sale
                  process, servicing, shared services and plan releases provided
                  that [AFI] contributes no less than $x in cash.
1875 Id.

1876 Id.

1877 Id.

1878 See E-mail from T. Devine (May 1, 2012) [EXAM00345816].

1879 Id. Devine was responsible for coordinating this web meeting with Patrick. See Dep. of T. Hamzehpour,

    Nov. 13, 2012, at 67:9–13.
1880 Int. of K. Patrick, Mar. 18, 2013, at 129:16–132:1.

1881 Compare Centerview and FTI Discussion Materials Presentation, dated Apr. 25, 2012 [EXAM00176409],

    with Centerview and FTI Discussion Materials Presentation, dated May 3, 2012 [EXAM00178949].

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                  5. [Patrick] also intimated a willingness to do a back-stop deal
                  with [AFI] in the event the plan fails (ie only a sale occurs and
                  the releases fail). In other words she is willing to agree [to] a
                  deal with [AFI] even if the third party releases-settlement
                  through a plan fail.1882

Devine responded by e-mail stating, “[o]ur notes match. This is very good new[s].”1883

     According to Devine, at this juncture, Patrick was not demanding a certain amount of
contribution from AFI to enter into the proposed settlement.1884 Rather, Patrick “understood
that the negotiation of a dollar number between AFI and ResCap was going on separately
from the discussions over the RMBS settlement.”1885 Patrick explained that the “X dollars”
represented her desire to “get more” money from AFI.1886 Devine also noted that, by early
May 2012, Lee was “having a variety of conversations with Kathy Patrick . . . some of which
[Devine] would have been included on and some of which [he was not] included on.”1887

      On May 6, 2012, Devine e-mailed Renzi and expressed an urgent need for him to revise
FTI’s waterfall analysis.1888 Devine then spoke with Patrick and sent a follow-up e-mail to
Renzi explaining, “[i]t is ver[y] important for [Patrick] to have the waterfall . . . reflect the
attribution over to GMACM we have discussed. . . . She will be in much better position to
deliver for us if I can give the revised waterfalls, below, to her by bedtime tonight.”1889

     On the morning of May 7, 2012, Devine sent an e-mail to Patrick stating that, based on
“preliminary runs” of the waterfall analysis using all of the assumptions and caveats that the
two had discussed, holders of Trust R&W Claims “across the entire run of all the trusts would
1882 See E-mail from G. Lee to T. Devine and T. Hamzehpour (May 4, 2012) [EXAM00191506].

1883 See E-mail from T. Devine to G. Lee and T. Hamzehpour (May 4, 2012) [EXAM00191506].

1884 See Dep. of T. Devine, Nov. 19, 2012, at 142:18–20.

1885 Id. at 143:10–14.

1886 Int. of K. Patrick, Mar. 18, 2013, at 138:15–139:2 (“I tried up until the last to get more. I couldn’t get any

    more.”).
1887 See Dep. of T. Devine, Nov. 19, 2012, at 138:10–16.

1888 See E-mail from T. Devine M. to Renzi and J. Cancelliere (May 6, 2012) [EXAM00345833]. Devine did not

    recall who asked him to have these waterfalls prepared. See Dep. of T. Devine, Nov. 19, 2012, at
    167:7–169:10.
1889 See  E-mail from T. Devine to M. Renzi and J. Cancelliere (May 6, 2012) [EXAM00345833]. The
    “attribution over to GMACM” appears to refer to an allocation of some recovery to PLS claims asserted
    against GMAC Mortgage. In waterfall analyses prior to May 7, 2012, no such claims were assumed to be
    asserted against GMAC Mortgage. Compare Centerview and FTI Discussion Materials Presentation, dated
    Apr. 25, 2012, at 8–10 [EXAM00176409], with Centerview and FTI Discussion Materials Presentation, dated
    May 7, 2012, at 8 [EXAM00176519]. Patrick explained, “we had to have the right number and the number
    had to be allocated to all of the trusts, not just to some of the trusts because all of the trusts were being asked
    to give a release. . . . [E]very trust that’s going to give a release gets value.” Int. of K. Patrick, Mar. 18, 2013,
    at 162:17–164:3.

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take at above the threshold you had mentioned to me of a billion.”1890 As Patrick explained,
“we wanted at least a billion dollars to flow to these trusts if we were going to support this
deal.”1891

     During the evening of May 7, 2012, Lee and Patrick had “several calls” discussing the
possible allowed claim amount.1892 Shortly before 9:00 p.m., Patrick e-mailed Lee and wrote:

                  [T]he number you suggested is a problem. At a defect rate of
                  22[%], the stated claim is 10.0 billion. That insulates the
                  settlement substantially from objectors because it is certainly
                  within the realm of reason. I can deliver a deal at 10 [billion].
                  Please get your last and best.1893

About ten minutes after receiving Patrick’s e-mail, Lee e-mailed Devine, Hamzehpour, Renzi,
and Cancelliere, among others, and reported Patrick’s counter.1894 Lee explained, “[Patrick’s]
view is that she can get her clients there, its within industry benchmark etc. . . . She thinks this
number allows her to dis-arm other rmbs holders as this ties to other rmbs defect rates.”1895
Lee asked Renzi to run a waterfall analysis incorporating new assumptions, including a $10
billion total claim, “in addition to the other model you are doing for [Patrick].”1896

     In response, Devine tried to convince his colleagues at ResCap and AFI (and their
advisors) that they could potentially “pick away” at the $10 billion by “pursuad[ing]
[Patrick’s] team that they are using the wrong severities etc. . . .”1897 Devine also raised
concerns that stipulating to a $10 billion allowed claim would create “securities/SEC/
disclosure risk”1898 because AFI had publicly disclosed on April 27, 2012 that “ResCap’s




1890 See E-mail from T. Devine to K. Patrick (May 7, 2012) [ALLY_PEO_0028927] (emphasis added).

1891 Int. of K. Patrick, Mar. 18, 2013, at 162:3–163:8.

1892 See E-mail from G. Lee (May 7, 2012) [EXAM00345282]. Patrick also spoke with Devine on the evening of

    May 7, 2012. See E-mails between K. Patrick and T. Devine (May 7, 2012), at EXAM00180194
    [EXAM00180193].
1893 E-mail from K. Patrick to G. Lee (May 7, 2012) [EXAM00180187].

1894 See E-mail from G. Lee (May 7, 2012) [EXAM00345282].

1895 Id.

1896 Id.

1897 See E-mail from T. Devine (May 7, 2012) [EXAM00345282].

1898 Id.



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reasonably possible losses over time related to the litigation matters and potential repurchase
obligations . . . could be between $0 and $4 billion over existing accruals.”1899 Devine noted:

                 If we want to prove we’re correct at something less than
                 4 billion let’s just skip the filing and try the cases. If [Patrick]
                 can’t make a deal with us at a stipulated valuation at
                 10 [billion], she will file proofs of claim which would equate to
                 valuation at 40 billion.1900

At around 11:00 p.m., after additional discussions with Patrick, Lee e-mailed Devine and
Hamzehpour and noted he was “getting a signal [Patrick] may go a little lower [than
$10 billion] but not much.”1901

      Shortly after midnight on May 8, 2012, Renzi distributed two revised waterfall
presentations to Lee and Devine, among others.1902 The first presentation was meant for
distribution to Patrick and showed scenarios with $3.5 billion (low), $4.7 billion (middle), and
$7.1 billion (high) for the allowed amount of the Trust R&W Claims.1903 The second
presentation, meant for “internal” use only, contained alternate recovery scenarios assuming
$4 billion (low), $6 billion (middle), and $10 billion (high).1904 In addition, the revised
waterfall analyses assumed that approximately 90% of AFI’s settlement contribution would be
allocated to creditors of GMAC Mortgage and RFC, with the remaining 10% allocated to
creditors of ResCap LLC (a change from the 85%/15% allocation assumption in the April 25,
2012 and May 3, 2012 waterfalls).1905

     The most significant driver of funds to holders of Trust R&W Claims was AFI’s cash
contribution. In the scenarios distributed to Patrick, the estimated total recovery to holders of
Trust R&W Claims ranged from $494 million to $624 million if AFI did not contribute any cash
1899 See Ally Financial Inc., Quarterly Report (Form 10-Q) (Apr. 27, 2012), at 73. Notwithstanding Devine’s

   insistence in the e-mail that he “need[ed] an answer” regarding “SEC/disclosure risk . . . in comparison to the
   risk that we’ll blow the chance to get third party releases,” see E-mail from T. Devine (May 7, 2012)
   [EXAM00345282], Devine testified that the question was purely rhetorical and that he “knew that the answer
   was no risk.” See Dep. of T. Devine, Nov. 19, 2012, at 201:24–25.
1900 E-mail from T. Devine (May 7, 2012) [EXAM00345282].

1901 E-mail from G. Lee (May 7, 2012) [EXAM00345241].

1902 See E-mails from M. Renzi to G. Lee and T. Devine (May 8, 2012) [EXAM00176430].

1903 See Centerview and FTI Discussion Materials Presentation, dated May 7, 2012, at 7–9 [EXAM00176421]

   (attached to E-mail from M. Renzi to G. Lee and T. Devine (May 8, 2012) [EXAM00176420]). The “high”
   allowed claim amount of approximately $7.1 billion appears to reflect ResCap’s negotiating position at the
   time. See Dep. of M. Renzi, Nov. 7, 2012, at 139:4–143:5; Int. of K. Patrick, Mar. 18, 2013, at 164:7–165:2.
1904 See Centerview and FTI Discussion Materials Presentation, dated May 7, 2012, at 10–12 [EXAM00176431]

   (attached to E-mail from M. Renzi to G. Lee and T. Devine (May 8, 2012) [EXAM00176430]).
1905 Compare
           Centerview and FTI Discussion Materials Presentation, dated May 7, 2012, at 8
   [EXAM00176519], with Centerview and FTI Discussion Materials Presentation, dated Apr. 25, 2012, at 10
   [EXAM00176409].

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to the Estates (depending on the allowed claim amount), compared to a range of $961 million to
$1.19 billion if AFI contributed $750 million.1906 Assuming the “high” allowed claim amount of
approximately $7.1 billion and a $750 million AFI cash contribution allocated 90% to creditors
of GMAC Mortgage and RFC, the total recovery to holders of Trust R&W Claims was
calculated to be approximately $1.19 billion.1907




      That same evening, Devine e-mailed Patrick after midnight and wrote:

                  I’m getting lots of pressure on valuation now. [Bank of
                  America’s settlement of $]8.5 billion represents 14[%] defect
                  rate, correct? Everything we know about our product—from
                  origination through pooling through reps and diligence through[]
                  servicing—makes our folks believe we are better (lower) than
                  Countrywide by a large margin. I am being asked to explain
                  how we could agree to a defect rate 150[%] of
                  Countrywide’s.1908

Devine explained that the “pressure on valuation” meant pressure from AFI to reduce the
implied defect rate of the claim settlement.1909 Patrick responded by indicating that while Bank
of America argued that their defect rate was 14%, the parties ultimately settled using a 36%
defect rate, which was then discounted for risk concerning Bank of America’s liability for
1906 See Centerview and FTI Discussion Materials Presentation, dated May 7, 2012, at 9 [EXAM00176519].

1907 See id.

1908 E-mail from T. Devine to K. Patrick (May 8, 2012), at EXAM00180194 [EXAM00180193].

1909 Int. of T. Devine, Mar. 19, 2013, at 120:8–122:9.



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Countrywide’s actions.1910 Patrick explained that in the Bank of America settlement, “the
CLAIM size was $32 billion against them, and we settled for $8.5 billion.”1911 In the ResCap
settlement, Patrick analogized, the claim size would be $10 billion (subsequently negotiated to
$8.7 billion) and the “[s]ettlement” would be “whatever is distributed” in the ResCap
bankruptcy case.1912 Devine forwarded that analysis, with a brief explanation of his own, to
Lee and Cieri, among others.1913

     On the morning of May 8, 2012, Lee e-mailed Patrick and asked her to send him
Countrywide Settlement-related documents “to show apples to apples on this deal.”1914 Patrick
agreed to send a spreadsheet to Lee, who requested that Patrick speak with Cancelliere to
explain the data.1915 The spreadsheet showed, among other things, a “BOA” scenario with
36% breach rate and 40% success rate—a combined rate of 14.4%—applied to estimated
losses of $107.8 billion, which resulted in a claim of approximately $15.5 billion.1916

     Later that morning, e-mails between Lee and Devine suggest that Lee would have been
willing to settle the allowed amount of the Trust R&W Claims at or near Patrick’s demand of
$10 billion, whereas Devine continued to press for a “lower” dollar number, suggesting
$8 billion as a possible stipulated allowed claim.1917 Lee responded to Devine and wrote that
Patrick’s proposal (then at $10 billion) was “lower than we thought we would end up with.
[Patrick] is taking the discount already because its [bankruptcy] dollars not [Bank of America]
dollars.”1918 But Devine continued to pressure his colleagues and suggested a further
1910 See E-mail from K. Patrick to T. Devine (May 8, 2012), at EXAM00180193–94 [EXAM00180193].

1911 Id. at EXAM00180193. Indeed, the Countrywide Settlement provided for a cash payment of $8.5 billion to

   certain trusts in connection with $424 billion in original principal balance of associated RMBS. See Bank of
   America Corp., Annual Report (Form 10-K) (Feb. 28, 2013), at 213–14.
1912 See E-mail from K. Patrick to T. Devine (May 8, 2012), at EXAM00180193–94 [EXAM00180193]. As

   noted above, as of May 7, 2012, the waterfall scenarios estimated a range of $494 million to $1.19 billion for
   total recovery to holders of Trust R&W Claims. See Centerview and FTI Discussion Materials Presentation,
   dated May 7, 2012, at 9 [EXAM00176519].
1913 See E-mail from T. Devine to G. Lee and R. Cieri (May 8, 2012) [EXAM00180193].

1914 See E-mail from G. Lee to K. Patrick (May 8, 2012) [EXAM00180201]. Lee asked Patrick to “[p]lease just

   reply back to me for now—have to guide our board.” Id. Lee forwarded Patrick’s spreadsheet to Devine and
   others almost immediately after he received it. See E-mail from G. Lee (May 8, 2012) [EXAM00191369].
1915 See E-mails between G. Lee and K. Patrick (May 8, 2012) [EXAM00188953]. Cancelliere apparently spoke

   with Patrick at around 10:30 a.m. on May 8, 2012. See E-mail from J. Cancelliere (May 8, 2012)
   [EXAM00193761].
1916 See BOA Loss Estimation [EXAM00180200] (attached to E-mail from D. Sheeren to G. Lee (May 8, 2012)

   [EXAM00180199]). As noted above, the Countrywide Settlement provided cash payment of approximately
   $8.5 billion on that claim. See Bank of America Corp., Annual Report (Form 10-K) (Feb. 28, 2013),
   at 213–14
1917 See E-mail from T. Devine (May 8, 2012) [EXAM00191095] (“Isn’t the obvious answer that [Patrick] states

   her 22%—[$]11 billion or whatever—and then takes an appropriate haircut (analogous to the 36% to 14%
   haircut she took in [Bank of America]) to get to a lower $ number ($8B?) as stipulated allowed claim?”).
1918 See E-mail from G. Lee (May 8, 2012) [EXAM00191095].



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conversation with Patrick. He wrote, “[i]f we can articulate the proper haircut, [Patrick] can
get her defect rate and we can get a reasonable dollar number.”1919

     On the evening of May 8, 2012, according to Patrick, there were two “parallel
negotiations”: (1) Patrick was “trying to agree [to] the size of the claim number with [Lee] and
[Hamzehpour]”; and (2) Patrick was separately negotiating with Devine about “whether [AFI]
would put in more cash.”1920 At some point during negotiations that evening, Patrick spoke
with Lee and offered to settle with ResCap for an allowed claim of $9 billion.1921 According to
Patrick, Lee responded that $9 billion was more than AFI wanted him to pay, but he would do
his best to get “close to that.”1922 Later that night, according to Patrick, Lee came back and
offered to settle for $8.7 billion, but requested that Patrick speak with Devine and demand that
AFI agree to contribute additional cash to the Estates.1923

     As requested by Lee, Patrick conveyed the demand to Devine.1924 That night, at around
11:45 p.m., Devine reported to Carpenter and others at AFI and Kirkland & Ellis that Patrick
had demanded an “allowed claim at $8.7 billion” and “$150 million increase in [AFI] cash
contribution above the 750 + 200 + 100 previously agreed.”1925 According to Patrick, after
Devine conveyed the demand to Carpenter, he came back “white as a sheet” and reported that
he “had almost been fired.”1926 Patrick then spoke with Lee in a separate room and, according
to Patrick, Lee stated that they may have “tried to build a bridge too far. I don’t care whether
you sign a plan support agreement with [AFI] or not. I will settle with you for [$8.7 billion].
This is the best I can do. Will you take it?”1927 And Patrick accepted the deal.1928

     The next morning, on May 9, 2012 at approximately 6:00 a.m., Devine sent an e-mail to
Cancelliere asking him to determine what defect rate would be implied by an $8.7 billion
allowed claim.1929 Cancelliere calculated that an $8.7 billion claim implied a defect rate of
19.7% using the ResCap/AFI assumption of $44.1 billion in aggregate losses, or 17.9% using
the Steering Committee Group’s assumption of $48.7 billion in aggregate losses.1930 At
1919 See E-mail from T. Devine (May 8, 2012) [EXAM00191095].

1920 See Int. of K. Patrick, Mar. 18, 2013, at 175:1–10.

1921 See id. at 172:8–177:4.

1922 See id.

1923 See id.

1924 See id.

1925 E-mail from T. Devine to M. Carpenter (May 8, 2012) [CCM00565463].

1926 See Int. of K. Patrick, Mar. 18, 2013, at 172:8–177:4.

1927 See id.

1928 See id.

1929 See E-mails between T. Devine and J. Cancelliere (May 9, 2012) [EXAM00345832].

1930 See id.



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9:00 a.m., Devine e-mailed Lee and informed him that AFI would “support the $8.7 billion
allowed claim” but that there was “no new [AFI] money.”1931

    Exhibit III.J.4.e—3 below reflects the evolution of negotiations related to the allowed claim
amount for holders of Trust R&W Claims.




1931 See E-mail from T. Devine to G. Lee (May 9, 2012) [EXAM00180215]; Dep. of T. Devine, Nov. 19, 2012, at

   229:24–230:6. Although ResCap agreed upon an allowed claim of $8.7 billion on or about May 9, 2012, as of
   that date, neither ResCap nor AFI had performed a loan sampling in an effort to calculate ResCap’s actual
   liability. See Dep. of J. Ruckdaschel, Nov. 8, 2012, at 39:21–40:25; Dep. of M. Renzi, Nov. 7, 2012, at 81:9–
   82:12, 91:11–92:17. Such approach was not necessarily unreasonable, as calculating actual liability would have
   required loan by loan analysis of “literally . . . millions of loan files.” See Dep. of J. Ruckdaschel, Nov. 8, 2012,
   at 129:2–19.

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     The Steering Committee Group also agreed to support a Plan that provided a Third-Party
Release in favor of AFI. The Steering Committee Group performed an independent analysis of the
sufficiency of the proposed AFI settlement contribution, and concluded that it was acceptable.1932
Patrick explained:

                  [AFI] had infused far more capital into these entities than it ever was
                  required to do to keep them afloat. . . . And while we think and
                  maintain that we have direct alter ego claims that we will pursue, . . .
                  from our perspective in the total context of what was being offered
                  here, substantial value from [AFI] for claims that were aggressively
                  postured, let’s put it that way. Tenuous, it would be another adjective
                  you could use. To get that value, stabilize the servicing platform and
                  get a number that the trustees could defend on the size of the
                  repurchase claim to us seemed obvious.1933

Exhibit III.J.4.e—4 below reflects the evolution of estimated recoveries for holders of Trust R&W
Claims, as presented to the Steering Committee Group during the course of negotiations.




1932 Int. of K. Patrick, Mar. 18, 2013, at 124:20–125:13 (“[W]e made our own judgment about the fairness of the deal

    from our perspective. . . . One of my partners is very deep in the weeds on those kinds of issues for all of these
    banks, and so we did our own analysis of it.”).
1933 Id. at 121:22–124:3.



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     On May 10, 2012, Carpenter e-mailed the AFI Board and informed them of the
agreement with the Steering Committee Group:

                  [W]e have a deal with Kathy Patrick and 50/60 percent of pls/
                  r and w claimants. Our [$]750 [million] contribution does not
                  change but the waterfall will deliver over [$]1 billion to her
                  class; trustees seem to be very relieved that servicer disruption
                  in a free fall will be avoided. The big negotiating point was the
                  amount of claims we would agree to (because this sets up for the
                  next negotiation with eg Wells); the ask was [$]12 [billion]
                  (about double the [Bank of America] settlement[)] and we ended
                  up at [$]8.7 billion. There are some risks with this approach if,
                  in the end, the plan falls apart bu[t] risks worth taking to have
                  pls supporting the deal.1934

                  (1) ResCap Board Approval Of RMBS Trust Settlement Agreements and RMBS
                      Plan Support Agreements

     On May 9, 2012, the ResCap Board met to consider the RMBS Trust Settlement
Agreements.1935 An e-mail was circulated to the ResCap Board at 2:08 p.m. scheduling a
meeting to approve the settlement for 3:00 p.m.1936 According to the agenda, a total of thirty
minutes was allotted to consideration of the RMBS Trust Settlement Agreements.1937 Lee
provided the ResCap Board with discussion materials regarding the proposed settlement at
2:38 p.m.—leaving the board only twenty-two minutes (at most) to review and develop an
understanding of those materials before the start of the meeting.1938 Although the ResCap
Board had been updated on the status of settlement negotiations on May 4, 2012,1939 the
May 9, 2012 meeting was the first occasion on which most of the ResCap Board members
were informed of the $8.7 billion settlement amount, given that the agreement had been
reached earlier that day.1940




1934 E-mail from M. Carpenter (May 10, 2012) [CCM00120369].

1935 See
       Minutes of a Special Meeting of the Board of Residential Capital, LLC, May 9, 2012, at 1–2
    [EXAM00126544].
1936 See E-mail from A. Ellenburg (May 9, 2012) [EXAM00230295].

1937 See Agenda, Special Meeting of the Residential Capital, LLC Board of Directors, dated May 9, 2012, at

    RC40020576 [RC40020575].
1938 See E-mail from G. Lee (May 9, 2012) [EXAM00230295]; Dep. of J. Whitlinger, Nov. 15, 2012, at 31:6–11.

1939 SeeDraft Minutes of a Regular Meeting of the Board of Residential Capital, LLC, May 4, 2012, at 2
    [EXAM11088898] (“Lee discussed the status of a proposed settlement of certain representation and warranty
    and private label securitization litigation claims.”).
1940 See Dep. of J. Whitlinger, Nov. 15, 2012, at 47:13–48:7.



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     At the May 9, 2012 meeting, the ResCap Board discussed the terms of the RMBS Trust
Settlement Agreements and reviewed the presentation materials.1941 Cancelliere advised the
ResCap Board on, among other things, settlement defect rates and the allocation of liability
among the Debtors.1942 Renzi reviewed some of the key assumptions regarding the settlement
and the preliminary agreements reached.1943

      The board materials showed, among other things, that the proposed $8.7 billion allowed
claim implied a 19.72% defect rate.1944 In the presentation, the $8.7 billion allowed claim was
juxtaposed against what the allowed amount of Trust R&W Claims would have been if
alternative defect rates had been used.1945 Notably, the presentation showed that the allowed
claim would have been approximately $15.9 billion if the “BofA Baseline—36% Defect” rate
had been applied.1946 A footnote on the page explained that “BofA proposed settlement defect
rate set at 36% prior to litigation adjustments.”1947 These figures were presented to the ResCap
Board as “comparative data point[s] to the ResCap settlement”1948 and were treated by at least
certain members of the ResCap Board in exactly that manner.1949 Their inclusion in the board
presentation was ordered by Lee.1950

     The inclusion of the Bank of America comparative defect rate in the board materials
could have caused confusion among the ResCap Board members because the 36% “baseline”
Bank of America defect rate was not “apples to apples” with the 19.72% ResCap “settlement”
defect rate. The 19.72% ResCap defect rate reflected the total allowed claim of $8.7 billion
divided by the estimated aggregate losses of $44.1 billion. If a similar calculation were applied
to the Bank of America materials Patrick had sent Lee—a $15.5 billion claim divided by
1941 See
       Minutes of a Special Meeting of the Board of Residential Capital, LLC, May 9, 2012, at 1
    [EXAM00126544].
1942 See id.


1943 See id. On May 9, 2012, the AFI Board consented to waive its rights to approve certain actions by ResCap,

    including, among other things, ResCap’s ability to enter into any legal settlement greater than $25 million.
    See Ally Financial Inc. Consent to Action, dated May 9, 2012, at ALLY_PEO_0020560–69
    [ALLY_PEO_0020479].
1944 See ResCap Private Label Securities Rep & Warrant Settlement Discussion Supporting Information, dated

    May 9, 2012, at RC40020578 [RC40020575].
1945 See id.


1946 See id. The “BofA Baseline” defect rate was not derived by ResCap or its professionals, but was provided by

    Patrick. See Dep. of J. Cancelliere, Nov. 14, 2012, at 184:9–20.
1947 See ResCap Private Label Securities Rep & Warrant Settlement Discussion Supporting Information, dated

    May 9, 2012, at RC40020578 [RC40020575].
1948 See Dep. of J. Cancelliere, Nov. 14, 2012, at 182:11–18.


1949 See Dep. of J. Whitlinger, Nov. 15, 2012, at 38:10–40:16, 45:15–46:13; Dep. of J. Mack, Nov. 14, 2012, at

    68:8–71:7.
1950 See Dep. of J. Cancelliere, Nov. 14, 2012, at 183:4–10.



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estimated aggregate losses of $107.8 billion—the “defect rate” would have been
approximately 14.4%, not 36%.1951

     During the meeting, Marano “requested that a report with separate line items identifying
the different settlement amounts be prepared to provide the ResCap Board with additional
details on the settlements.”1952 It is unclear if such materials were ever prepared and provided
to the ResCap Board.1953

      Compounding the confusion, at least some members of the ResCap Board erroneously
believed that the $8.7 billion dollar claim amount accounted for the Debtors’ potential
litigation defenses to putback claims.1954 The proposed claim amount, however, was not
reduced for such litigation defenses.1955 Other ResCap Board members understood the
settlement to include a release of claims based on securities law violations,1956 which also was
not the case.




1951 See BOA Loss Estimation [EXAM00180200] (attached to E-mail from D. Sheeren to G. Lee (May 8, 2012)

    [EXAM00180199]).
1952 See
       Minutes of a Special Meeting of the Board of Residential Capital, LLC, May 9, 2012, at 1
    [EXAM00126544].
1953 See Dep. of J. Cancelliere, Nov. 14, 2012, at 204:2–205:8.

1954 See Dep. of J. Whitlinger, Nov. 15, 2012, at 115:24–117:8. Steven Abreu, a ResCap Board member, stated

    that he understood that the allowed claim amount did not include any reductions for potential litigation
    defenses. See Int. of S. Abreu, Jan. 22, 2013, at 350:22–351:2.
1955 See Dep. of J. Cancelliere, Nov. 14, 2012, at 189:24–190:2; Dep. of J. Mack, Nov 14, 2012 52:25–53:7.

1956 See Dep. of J. Mack, Nov. 14, 2012, 108:25–109:11. Abreu stated that he knew securities claims were not

    part of the settlement with Patrick because securities claims were not part of Lee’s presentation to the board
    on May 9, 2012. See Int. of S. Abreu, Jan. 22, 2013, at 323:1–24.

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     There is evidence showing that the ResCap Board had a substantive familiarity with
representation and warranty claims prior to receiving the settlement materials because of,
among other things, prior discussions with its advisors, accounting policy teams, and in-house
counsel.1957 According to Lee:

                 I actually recall having had several discussions with the board
                 about the comparison with Lehman and Bank of America. I
                 think the board was actually very familiar with the Bank of
                 America settlement, either through presentations we made or
                 independently. . . . [T]he board was perfectly comfortable with
                 the range that we settled in. Because I think the view that we
                 had been articulating was if the collective action lawsuits were
                 brought, we’d be facing potentially a $44 billion claim. So,
                 seemed to be perfectly rational. . . . There had been several
                 discussions prior to that board meeting about people’s
                 perception of what ranges were appropriate. Because there had
                 been several different waterfalls of analysis that were done and
                 allocations of claims between GMAC and ResCap arising out of
                 the PLS. My recollection was that Tom Marano and Jonathan
                 Ilany, really the two people who traded these types of securities,
                 both were of the view that they wouldn’t be surprised if the
                 ultimate number was well in excess of eight and probably closer
                 to $20 billion. So I didn’t get the impression that the board was
                 remotely concerned with a number less than 10 [billion]. Given,
                 I think, that their ultimate expectation was that the number could
                 well be 20 [billion].1958

     The ResCap Board voted to approve the settlement in approximately thirty minutes,
subject to “such changes as [ResCap LLC] management, upon the advice of legal counsel,
shall make with the understanding that if such changes are material they will be reviewed with
1957 See Dep. of J. Whitlinger, Nov. 15, 2012, 30:23–31:5 (“[W]hen we talk about rep and warrant topics, the

   board has had plenty of experience around this discussion with our advisors, with our accounting policy
   teams and in-house counsel.”); see also Minutes of a Regular Meeting of the Board of Residential Capital,
   LLC, July 1, 2011, at RC40018628 [RC40018411] (noting that Devine gave a “detailed presentation” to the
   ResCap Board regarding, among other things, PLS investor litigation and representation and warranty
   litigation). According to Devine:
        The business was deeply familiar for many years with . . . what representations were made in
        connection with and what potential exposures existed in connection with the various kinds of loan
        sales, whether they were GSE, whole loan, direct, or RMBS. . . . And when I presented to the Board
        . . . the discussions were lively and many-sided. It was not a one-way presentation. The questions
        were smart and well-informed.
   Int. of T. Devine, Mar. 19, 2013, at 20:9–21:12.
1958 Int. of G. Lee, Feb. 20, 2013, at 301:18–307:19; see also Dep. of J. Whitlinger, Nov. 15, 2012, 97:10–98:3

   (noting that he understood the Countrywide Settlement amount was $8.5 billion).

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the Board.”1959 On May 13, 2012, the ResCap Board formally resolved to enter into the RMBS
Trust Settlement Agreements and the RMBS Plan Support Agreements.1960

                 (2) Apparent Confusion During Attempts To Finalize Settlement Language
                     After ResCap Board Approval

      After approval of the economics of the settlement by the ResCap Board, counsel for the
settling parties continued working towards memorializing the agreement. On May 9, 2012,
after the ResCap Board had approved the settlement, Lee sent an e-mail to Patrick stating that
“[t]here seems to be a disagreement . . . on one fundamental point” concerning the
settlement.1961 Lee noted that he understood “that the $8.7bn [proposed allowed claim] settles
all claims arising from the sale and servicing of the RMBS.”1962 He noted, however, that Ross
Martin of Ropes & Gray, which had been retained to act as the Steering Committee Group’s
bankruptcy counsel, understood the $8.7 billion dollar settlement would not involve a release
of individual investors’ securities law claims.1963 Lee went on to state that such an
arrangement was unacceptable and contrary to the understanding of the deal as approved by
the ResCap Board, “because [it would] render[] a deal at $8.7bn illusory.”1964

    Lee’s e-mail prompted Patrick to ask Devine to intercede and correct Lee’s
misunderstanding or risk the deal falling apart. She wrote:

                 [Lee] is claiming he was “told” that [the Steering Committee
                 Group] would release securities claims in the plan. We never
                 told him that and we have never offered or agreed to release
                 securities claims. We’ve been very clear about that from the
                 very beginning. It’s the basis on which I got my clients to
                 approve it, it’s what I’ve told the Trustees this morning. [I]t’s
                 also what I assured Freddie Mac. As you and I discussed: a
                 release of securities claims is not part of this putback settlement.
                 [Lee’s] misunderstanding—or his effort to extract something
                 that we never offered and don’t have to give—is impeding
                 getting the deal documented. Would you please intercede with
                 him and tell him to move on? Insisting on this will destroy any
1959 See  Minutes of a Special Meeting of the Board of Residential Capital, LLC, May 9, 2012, at 1–2
    [EXAM00126544]; Dep. of J. Whitlinger, Nov. 15, 2012, at 26:24–27:4 (confirming that thirty minutes was
    allotted for discussion of the proposed legal settlement).
1960 Minutes
          of a Special Meeting of the Board of Residential Capital, LLC, May 13, 2012, at 9–10
    [EXAM00184467].
1961 E-mail from G. Lee to K. Patrick (May 9, 2012) [EXAM00345817].


1962 Id.


1963 Id.


1964 Id.



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                 chance of the deal happening. I understand his determination to
                 try again, but we need to move on. I’m sorry to bother you, but
                 we need you to intercede here.1965

      Devine indicated that he would “try to straighten everything out.”1966 Patrick thanked
Devine and noted that she had just received a further call from Lee in which she informed him
that a deal would never be reached if he insisted on attempting to roll securities claims into the
settlement.1967

     Following his e-mails with Patrick, Devine sent an e-mail to Lee, among others,
explaining that:

                 The [RMBS Trust Settlement Agreement] is for everything
                 except securities claims. . . . The circle is squared at the
                 Plan. . . . though [Patrick’s] clients don’t release securities
                 claims, they sign Plan Support Agreements, and the Plan
                 includes very simple comprehensive releases, which of course
                 include third party release of all claims, which of course
                 includes securities claims. . . . This is the beauty of it.”1968

     Devine’s explanation of how the RMBS Trust Settlement Agreement fit into the larger
plan architecture apparently had the desired effect—Jamie Levitt of Morrison & Foerster
replied that ResCap would agree to exclude securities law claims from the RMBS Trust
Settlement Agreement.1969 Lee, Devine, and others then went on to discuss the importance of
including a clear statement in the RMBS Plan Support Agreements that the Steering
Committee Group would “support[] all releases including securities and fraud releases.”1970
Devine underscored that point, stating “It must say so. That’s the deal.”1971
1965 E-mail from K. Patrick to T. Devine (May 9, 2012), at ALLY_0143982–83 [ALLY_0143982] (emphasis

   added).
1966 E-mail from T. Devine to K. Patrick (May 9, 2012) [ALLY_0143982].

1967 E-mail from K. Patrick to T. Devine (May 10, 2012) [ALLY_0143982].

1968 E-mail from T. Devine (May 10, 2012) [EXAM00345817]. This and other communications suggest that

   Devine had a sophisticated understanding of the RMBS Trust Settlement Agreements and how that
   settlement fit in with the broader reorganization. In light of Devine’s demonstrably sophisticated
   understanding of the deal, it is difficult to give significant credence to his statements at his deposition that he
   “may very well not have understood what [he] was talking about” with respect to the bankruptcy. Dep. of T.
   Devine, Nov. 19, 2012, at 246:7–13.
1969 See E-mail from J. Levitt (May 10, 2012) [EXAM00345817]. On May 12, 2012, Levitt e-mailed Gibbs &

   Bruns and Ropes & Gray and stated “we do not have authority at this time to accept your removal of [the
   securities claims provisions] from the release and related provisions.” E-mail from J. Levitt (May 12, 2012)
   [EXAM00179203]. But those provisions were eventually removed from the agreement.
1970 See E-mail from G. Lee (May 10, 2012) [EXAM00345823].

1971 E-mail from T. Devine (May 10, 2012) [EXAM00345823].



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    Lee’s apparent confusion was curious because, less than a week earlier, he seemingly
understood that “ResCap and the [Steering Committee Group] will settle all claims . . . other
than securities claims (which [Patrick] does not control).”1972 Despite Patrick’s initial
concerns, she apparently figured out that Lee was perhaps making an “effort to extract
something.”1973 And, indeed, Lee admitted as much, explaining:

                  There are a couple of things that happened right at the end. One
                  is, you know, we settled on a deal with AFI at that point, and
                  we’re still in the final throes of negotiation with [Patrick]. You
                  know, and I believe that it’s my obligation to take one final crack
                  at AFI to get more money and one final crack at [Patrick] to get
                  something else. . . . And I was prepared, as I did, to negotiate
                  right up until the time that we basically hit the button. . . . And I
                  went back to [Patrick] and I told her that we’d like you to get the
                  securities claims in. And, you know, we had a good fight about
                  it, but, at the end of the day, the reason we backed down was she
                  was correct. That’s what the deal was and that’s what she told
                  us.1974

                  (3) Negotiations With The Talcott Franklin Group

     As noted above, ResCap primarily negotiated the terms of the RMBS Trust Settlement
Agreements with the Steering Committee Group because, unlike the Talcott Franklin Group,
the Steering Committee Group “could kill a sale, full stop.”1975

      On March 22, 2012, Franklin sent a letter to Devine expressing his frustration at AFI’s
failure to move forward in negotiating a resolution of his client’s claims.1976 In his letter,
Franklin stated that his clients were “concerned that [AFI] may be holding out on [them] so it
can place RFC in bankruptcy and force an untenable resolution” on them.1977 Franklin
suggested that there would be adverse consequences for AFI if it pursued such a strategy,
reiterated his desire to resolve his clients’ claims, and requested a response no later than
March 26, 2012.1978

    On April 19, 2012, Franklin, apparently having become frustrated by the slow pace at
which settlement negotiations were advancing, informed Devine that he intended to
1972 E-mail from G. Lee to T. Devine and T. Hamzehpour (May 4, 2012) [EXAM00191506] (emphasis added).

1973 E-mail from K. Patrick to T. Devine (May 9, 2012) [ALLY_0143982].

1974 Int. of G. Lee, Feb. 20, 2013, at 321:15–328:12.

1975 Id. at 151:23–153:3.

1976 See Letter from T. Franklin to T. Devine (Mar. 22, 2012) [ALLY_0143503].

1977 Id.

1978 See id.



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independently reach out to Fortress to discuss his clients’ interests following a ResCap
bankruptcy filing.1979 On April 19, 2012, Devine e-mailed Hamzehpour and Solomon to
update them on this development with the Talcott Franklin Group.1980 In that e-mail, Devine
indicated that he had attempted to dissuade Franklin from directly engaging with Fortress, and
recommended “giving Talcott a ‘KP-Lite’ meeting.”1981

     On May 9, 2012, Devine reported receiving a call from Franklin in which Franklin
indicated that he was “very favorably inclined to support and participate in” the plan support
and settlement agreements that were then in the progress of being developed.1982 Lee
responded by stating that he would send Franklin a revised settlement agreement and plan
support agreement after receiving a revised draft from Patrick.1983

      On May 11, 2012, Levitt emailed Devine, copying Lee and Noah Ornstein of Kirkland &
Ellis, stating that she had:

                spent a considerable amount of time today talking first with
                Talcott Franklin and then on two occasions with his gaggle of
                lawyers. It is pretty clear they are coming to understand the
                economics and advantages of the proposal and want in. . . . With
                all this in mind, we would like to pick your brain tomorrow on
                how you best see fit to maneuver the Kathy/Talcott discussions
                and intrigue.1984

      On May 12, 2012, Devine sent an e-mail to Levitt, Lee, Ornstein, and Ruckdaschel
asking if “Talcott Franklin [had] signed on without reservation to support the Plan, including
broad third party release of all claims against [AFI] etc including security claims?”1985 Lee
responded that it was “complicated—they are trying to preserve lots of other claims . . . . [W]e
sent Talcott the agreement the way we wanted it and told him he couldn’t really negotiate it—
but if [Patrick] doesnt sign I dont know if he will.”1986

    On May 13, 2012, Devine e-mailed Franklin and informed him that he could not “expose
[AFI] to any claims however remote.”1987 By this statement, Devine intended to convey that
1979 See E-mail from T. Devine to W. Solomon and T. Hamzehpour (Apr. 19, 2012) [EXAM00191427].

1980 See id.

1981 Id.

1982 E-mail from T. Devine (May 9, 2012) [EXAM00180216]; Dep. of T. Devine, Nov. 19, 2012, at 239:12–

    240:25.
1983 E-mail from G. Lee (May 9, 2012) [EXAM00180216]; Dep. of T. Devine, Nov. 19, 2012, at 242:10–18.

1984 E-mail from J. Levitt (May 11, 2012) [EXAM00345831].

1985 E-mail from T. Devine (May 12, 2012) [EXAM00345296].

1986 E-mail from G. Lee (May 12, 2012) [EXAM00345296].

1987 E-mails between T. Devine and T. Franklin (May 13, 2012) [ALLY_0144252].



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AFI’s support for the plan was contingent on Franklin’s clients agreeing to support a “third-
party nonconsensual release” for AFI.1988 Later that day, Devine again e-mailed Franklin
stating that they “need[ed] to close now . . . this is my last chance [to] get you in the deal pre-
filing . . . .”1989 Franklin thanked Devine and asked for a call to “tell [him] what we’re able to
do so there’s no confusion.”1990 Ultimately, the Talcott Franklin Group agreed to the RMBS
Trust Settlement Agreements and RMBS Plan Support Agreements.1991

             f. Terms Of The RMBS Trust Settlement Agreements

                 (1) Allowed Claim

      The RMBS Trust Settlement Agreements seek to resolve all the Trust R&W Claims in
exchange for an allowed general unsecured claim of up to $8.7 billion.1992 The proposed
settlement extends to all securitizations issued by the Debtors, not just those in which the
Steering Committee Group or the Talcott Franklin Group have significant holdings.1993 The
final amount of the allowed claim will be reduced from $8.7 billion based upon the total dollar
amount of original principal balance for the trusts participating in the settlement.1994 Each of
the RMBS trusts that accepts the settlement will receive an allocated portion of the allowed
claim pursuant to the determination of a “qualified financial advisor” after application of
certain allocation formulas.1995

                 (2) Amendments To RMBS Trust Settlement Agreements

     On August 15, 2012, the Debtors filed amended and restated RMBS Trust Settlement
Agreements.1996 The most significant amendment permitted each settling trust to reallocate up
to 20% of its share of the $8.7 billion allowed claim as a general unsecured claim against
1988 See Dep. of T. Devine, Nov. 19, 2012, at 286:15–287:20.


1989 E-mail from T. Devine to T. Franklin (May 13, 2012) [ALLY_0144252].


1990 E-mail from T. Franklin to T. Devine (May 13, 2012) [ALLY_0144252].


1991 See Talcott Franklin Group RMBS Trust Settlement Agreement, dated May 13, 2012 [RC00031542]; Talcott

    Franklin Group Plan Support Agreement, dated May 13, 2012 [RC00031742].
1992 See Debtors’ Supplemental Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust

    Settlement Agreements [Docket No. 1176]; Objection of the Official Committee of Unsecured Creditors to
    the Debtors’ Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust Settlement
    Agreements [Docket No. 2825].
1993 RMBS Trust Settlement Agreements, § 5.01.


1994 Id.


1995 See id. Ex. B. The Examiner did not investigate the proposed allocation methodology.


1996 See Amended and Restated RMBS Trust Settlement Agreement with the Steering Committee Group [Docket

    No. 1176-2]; Amended and Restated RMBS Trust Settlement Agreement with the Talcott Franklin Group
    [Docket No. 1176-3] (together, the “First Amended RMBS Trust Settlement Agreements”).

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ResCap LLC (the “HoldCo Election”).1997 For each settling trust that could have made the
HoldCo Election, the amount of the allowed claim to be asserted against the other Debtors
would have been reduced on a dollar-for-dollar basis.1998 The Debtors asserted that the
HoldCo Election was meant to resolve “direct purported alter ego claims against [ResCap
LLC] that the [RMBS] Institutional Investors argue they could have directed the Trustees to
assert.”1999

     As originally proposed, the RMBS Trust Settlement Agreement provided that the allowed
$8.7 billion claim would be against RFC and GMAC Mortgage.2000 As amended, the RMBS
Trust Settlement Agreements provide that the Depositor Entities would be jointly liable with
RFC and GMAC Mortgage for the allowed claim.2001

      On October 19, 2012, the Debtors again filed amended and restated RMBS Trust
Settlement Agreements.2002 The Third Amended and Restated RMBS Trust Settlement
Agreements formally removed the Holdco Election but, unlike the original RMBS Trust
Settlement Agreement, allowed for possible recoveries against ResCap LLC.2003 The total
potential liability of ResCap LLC is limited to $8.7 billion and any recovery by an accepting
trust on any allowed claim against ResCap LLC will be reduced by any amounts paid to such
accepting trust by RFC, GMAC Mortgage, or any of the Depository Entities on account of the
Trust R&W Claims.2004




1997 See id. § 6.02.

1998 Id.

1999 See Debtors’ Supplemental Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust

    Settlement Agreements [Docket No. 1176] at 12.
2000 See Declaration of William J. Nolan in Support of Debtors’ Motion Pursuant to Fed. R. Bankr. P. 9019 for

    Approval of the RMBS Trust Settlement Agreements [Docket No. 320-7] ¶ 9.
2001 See First Amended RMBS Trust Settlement Agreements, §§ 1.03, 5.01.

2002 See Third Amended and Restated RMBS Trust Settlement Agreement with the Steering Committee Group

    [Docket No. 1887-2]; Third Amended and Restated RMBS Trust Settlement Agreement with the Talcott
    Franklin Group [Docket No. 1887-3] (together, the “Third Amended RMBS Trust Settlement Agreements”).
    The parties also entered into Second Amended and Restated RMBS Trust Settlement Agreements, but such
    agreements were never filed with the Bankruptcy Court.
2003 See id. §§ 6.02, 8.01. Under the Third Amended RMBS Trust Settlement Agreements, accepting trusts are

    permitted to file proofs of claim against ResCap LLC. Such proofs of claim will remain subject to objections
    in all respects. See id. §8.01.
2004 See id.



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                   (3) Released Claims

     Under the RMBS Trust Settlement Agreement, in exchange for the allowed $8.7 billion
claim, the RMBS Institutional Investors, each of the accepting trusts, and the trustees in
respect of such trusts will release the Debtors (excluding ResCap LLC) and their current and
former officers, directors, and employees (excluding AFI and its officers or directors) from all
Trust R&W Claims that arose prior to the Petition Date.2005 The claims allowance and releases
are effective on the date on which the Bankruptcy Court enters an order approving the RMBS
Trust Settlement Agreement.2006 The RMBS Trust Settlement Agreement does not release
individual direct claims for securities fraud or other disclosure-related claims arising from the
purchase or sale of RMBS.2007

              g. Terms Of The RMBS Plan Support Agreements

      The Steering Committee Group and the Talcott Franklin Group entered into substantially
similar RMBS Plan Support Agreements with the Debtors and AFI that obligated the RMBS
Institutional Investors to direct the securitization trustees to support the terms of the proposed
Plan Term Sheet and the AFI Settlement and Plan Sponsor Agreement, including the Third-
Party Release for AFI.2008

                   (1) Distributions To RMBS Institutional Investors

     The RMBS Plan Support Agreements require that the Plan “be materially consistent with
the methodology of allocation of sale proceeds, settlement proceeds, and all other matters that
determine distributions to creditors as set forth in the May 9, 2012 and May 12, 2012
Executive Summaries . . . given by Debtors’ counsel to the steering committee appointed by




2005 See id. § 7.01. Specifically, the RMBS Institutional Investors, each of the accepting trusts, and the trustees in

    respect of such trusts will release claims arising out of and/or relating to the following: (1) the origination
    and sale of mortgage loans to the accepting trusts; (2) documentation of the underlying mortgage loans held
    by the accepting trusts; (3) the servicing of the mortgage loans held by the accepting trusts, but only to the
    extent assumed pursuant to the sales of the Debtors’ assets; (4) any duty of a debtor as master servicer,
    servicer, or sub-servicer to notice and enforce remedies in respect of alleged breaches of representations and
    warranties; (5) setoff or recoupment under the accepting trusts’ governing agreements; and (6) any mortgage
    loan seller that either sold loans to ResCap or AFI that were sold and transferred to an accepting trust or sold
    loans directly to an accepting trust. Id.
2006 See id. § 2.01.

2007 See id. § 7.01.

2008 RMBS Plan Support Agreements, at 2.



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the Consenting Claimants.”2009 Accordingly, the RMBS Institutional Investors apparently have
a preset ratable share of creditor recoveries, including recoveries from any contribution by
AFI.2010 As Patrick explained:
                     You don’t know what’s going to happen on the size of [AFI]’s
                     contribution, which is why the plan support agreement we
                     negotiated negotiates for a waterfall treatment, not an absolute
                     size because we wanted to be sure that if there was more money
                     that came in, the trust would be treated . . . the same. That is, not
                     the same in dollars, but the same rateable take of the number.2011
                     (2) Termination Rights Regarding RMBS Plan Support Agreements
     The RMBS Institutional Investors are permitted to terminate the RMBS Plan Support
Agreements with three days’ advance written notice upon the occurrence of a variety of events
or conditions, including the Debtors’ failure to comply with the deadlines and conditions set
forth in the milestones.2012 Although a number of termination events have been triggered, the
Steering Committee Group has not terminated its agreement, and therefore the Steering
Committee Group RMBS Plan Support Agreement remains binding on the parties.2013
     The RMBS Plan Support Agreements automatically terminate upon a breach by the
RMBS Institutional Investors of any material provision of either the RMBS Plan Support
Agreements or the RMBS Trust Settlement Agreements, unless such breach is waived in
writing by the Debtors or AFI.2014 In addition, if the Debtors make a good faith determination
that an alternative restructuring proposal is “reasonably likely to be more favorable” than the
restructuring contemplated by the Plan “to the Debtors’ estates, their creditors, and other
parties to whom the Debtors owe fiduciary duties,” then the Debtors are permitted to
immediately terminate their obligations under the RMBS Plan Support Agreement, including
the obligation to seek approval of a plan that provides a Third-Party Release.2015 However, if
the Debtors determine to pursue such an alternative restructuring, it must be “no less favorable
to the [RMBS] Consenting Claimants than the [r]estructuring contemplated by the Plan.”2016
2009 Id. § 1(c).

2010 See Int. of K. Patrick, Mar. 18, 2013, at 118:8–120:15, 154:25–155:8, 213:7–215:15.

2011 Id. at 119:23–120:8.

2012 RMBS Plan Support Agreements, §§ 6.1, 6.4.

2013 See Ally Financial Inc., Quarterly Report (Form 10-Q) (May 1, 2013), at 10. The Steering Committee Group

    RMBS Plan Support Agreement remains in effect notwithstanding the termination of the AFI Settlement and
    Plan Sponsor Agreement. Patrick explained that if AFI ultimately contributes an amount greater than
    $750 million, the RMBS Institutional Investors are “going to do better.” Int. of K. Patrick, Mar. 18, 2013, at
    214:14–216:11. However, if AFI’s cash contribution is lower, according to Patrick, “[w]e’ll all be very
    unhappy that we screwed with [AFI] . . . which is what I told people at the time.” Id. On April 18, 2013, the
    Talcott Franklin Group sent the Debtors and AFI a notice of termination of its RMBS Plan Support
    Agreement. See Ally Financial Inc., Quarterly Report (Form 10-Q) (May 1, 2013), at 10.
2014 RMBS Plan Support Agreements, §§ 6.2, 6.4.

2015 Id. at § 2.4.

2016 Id.



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                        (3) Debtors’ Obligations Under RMBS Plan Support Agreements

      Under the RMBS Plan Support Agreements, the Debtors agreed to the following
obligations: (1) file a motion within fourteen days of the petition date seeking approval of the
RMBS Trust Settlement Agreements and obtain an order approving the motion by the earlier
of (a) sixty days after the petition date, and (b) the date on which the disclosure statement is
approved;2017 (2) for sixty days following the petition date, offer to all other RMBS holders a
settlement of their claims on the same economic terms;2018 and (3) file a motion within twenty-
one days of the petition date seeking authority to perform under the RMBS Plan Support
Agreements.2019

                        (4) RMBS Institutional Investors’ Obligations Under RMBS Plan Support
                            Agreements

      Under the RMBS Plan Support Agreements, the RMBS Institutional Investors agreed to
direct the trustees to undertake the following obligations: (1) use commercially reasonable
efforts to obtain agreement to the RMBS Plan Support Agreements and the RMBS Trust
Settlement Agreements from holders of mortgage-backed securities held by the securitization
trusts other than the RMBS Institutional Investors;2020 (2) support the Debtors’ restructuring,
the prosecution of the first and second day pleadings, and prosecution of the chapter 11
cases;2021 (3) support entry of an injunction staying litigation against AFI and current and
former directors and officers of AFI and ResCap during the pendency of the chapter 11
cases;2022 (4) vote to accept the plan;2023 and (5) support confirmation of the plan and approval
of any settlement with AFI, including approval of the Third-Party Release, on terms no less
favorable than the AFI Settlement and Plan Sponsor Agreement and take no action otherwise
adverse to AFI during the chapter 11 cases.2024 The RMBS Institutional Investors also agreed
to maintain holdings aggregating 25% of the voting rights in one or more classes of securities
of not less than 235 of the securitizations issued by the Debtors.2025 The RMBS Institutional
Investors did not waive their right to file an objection to a motion of the Junior Secured
Noteholders requesting payment of any interest on account of their claims.2026
2017 Id. at § 2.1(a).


2018 Id. at § 2.1(b).


2019 Id. at § 2.2(b).


2020 Id. at § 3.1(b).


2021 Id. at §§ 3.1(a), (c)–(d).


2022 Id. at § 3.1(e).


2023 Id. at § 3.1(h).


2024 Id. at § 3.1(i).


2025 Id. at § 3.3.


2026 Id. at § 2.2.



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                      (5) AFI’s Obligations Under RMBS Plan Support Agreements

      AFI consented to approval of the RMBS Trust Settlement Agreement or any allowance
of the claims of the trusts in any amount at or less than the aggregate amount of $8.7 billion,
or to any allocation of such claims among the trusts reasonably proposed by the RMBS
Institutional Investors.2027

               h. Examiner’s Conclusions Regarding Process Resulting In RMBS Trust
                  Settlement Agreements And RMBS Plan Support Agreements

                      (1) Role Of AFI And Tim Devine In Negotiations

     The objectors to the RMBS Trust Settlement Agreements argue that the Bankruptcy
Court should decline to approve the settlement because it was not the product of arm’s length
bargaining.2028 The principal theory underlying the objections is that AFI “dominated and
controlled” the negotiations to obtain a Third-Party Release, essentially “trading” an
“excessive” $8.7 billion allowed claim against ResCap for an “inadequate” $750 million plan
contribution by AFI.2029

      The objectors focus on the involvement of Tim Devine, AFI’s Chief Counsel of
Litigation, arguing that he “dominated” the settlement negotiations.2030 Devine has suggested
that his role was minimal and that many of his communications with Patrick were then
distributed to the appropriate parties at ResCap, Morrison & Foerster, AFI, or Kirkland &
Ellis, or some combination thereof.2031 Such assertions understate Devine’s role in the
negotiations. The RMBS objectors rightly point out that Devine played one of the central roles
in the settlement negotiation process. Indeed, Devine testified that he viewed his role as
“driving a deal to conclusion” between ResCap, the RMBS Institutional Investors, and
AFI.2032
2027 Id. at § 4(a).


2028 See Objection of the Official Committee of Unsecured Creditors to the Debtors’ Motion Pursuant to Fed. R.

    Bankr. P. 9019 for Approval of the RMBS Trust Settlement Agreements [Docket No. 2825] at 1–3;
    Objection of Financial Guaranty Insurance Company to the Debtors’ Second Supplemental Motion Pursuant
    to Fed. R. Bankr. P. 9019 for Approval of RMBS Trust Settlement Agreements [Docket No. 2819] ¶¶ 2–4;
    Objection of MBIA Insurance Corporation to Debtors’ Motion Pursuant to Fed. R. Bankr. P. 9019 for
    Approval of the RMBS Trust Settlement Agreements [Docket No. 2810] at 1–3.
2029 See Objection of the Official Committee of Unsecured Creditors to the Debtors’ Motion Pursuant to Fed. R.

    Bankr. P. 9019 for Approval of the RMBS Trust Settlement Agreements [Docket No. 2825] at 1, 20–21.
2030 See, e.g., Objection of Financial Guaranty Insurance Company to the Debtors’ Second Supplemental Motion

    Pursuant to Fed. R. Bankr. P. 9019 for Approval of RMBS Trust Settlement Agreements [Docket No. 2819]
    ¶¶ 7–9.
2031 See Int. of T. Devine, Mar. 19, 2013, at 56:9–58:13.


2032 Dep. of T. Devine, Nov. 19, 2012, at 248:4–249:4.



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      However, the totality of the evidence suggests that Devine advocated consistently in
negotiations for as low an allowed claim amount as was achievable.2033 Notably, as the
negotiations were drawing close to a resolution, Devine was the principal advocate among the
representatives of ResCap and AFI for continuing to “pick away” at Patrick’s demands.2034
Correspondence between Lee and Devine on May 8, 2012 suggests that Lee would have been
willing to settle the allowed amount of the Trust R&W Claims at or near Patrick’s demand of
$10 billion, whereas Devine continued to press for a “lower” dollar number, suggesting $8
billion as a possible stipulated allowed claim.2035

      The Creditors’ Committee argues that AFI’s “primary—or sole—motivation” in reaching
the RMBS settlement was to obtain a Third-Party Release.2036 The evidence does not support
that assertion. AFI had good reasons to negotiate for as low an allowed claim amount as was
achievable, including: (1) AFI would potentially be liable for all of the Debtors’ debts if an
Estate representative successfully pierced the corporate veil between AFI and the ResCap
entities;2037 (2) AFI had publicly disclosed on April 27, 2012 that “ResCap’s reasonably
possible losses over time related to the litigation matters and potential repurchase obligations .
. . could be between $0 and $4 billion over existing accruals [of $811 million],”2038 and was
concerned that agreeing to an allowed claim well in excess of that amount could create
“securities/SEC/disclosure risk”;2039 and (3) AFI was under pressure from federal regulators to
settle at a defect rate that would not put stress on other banks.2040

     The Examiner concludes that AFI was motivated to and did advocate consistently
throughout the negotiations for a lower claim amount and, ultimately, AFI’s involvement in
the negotiations helped drive down the proposed allowed claim amount. The Examiner
2033 See, e.g., Int. of G. Lee, Feb. 20, 2013, at 103:10–23 (Lee: “My personal experience with [Devine] was,

    irrespective of whether he was considered a badged [AFI] employee, that he was acting in—throughout the
    period of time I engaged with him, in a way that was consistent with the best interests of ResCap.”).
2034 See E-mail from T. Devine (May 7, 2012) [EXAM00345282]; see also Dep. of T. Marano, Nov. 12, 2012, at

    249:4–20 (“I think [Devine] was negotiating his position, trying to get Ms. Patrick down from a number that
    was in the vicinity of 30 percent. . . . Clearly in this context he was assisting . . . in negotiating this defect
    rate.”).
2035 See E-mails between T. Devine and G. Lee (May 8, 2012) [EXAM00191095].

2036 See Objection of the Official Committee of Unsecured Creditors to the Debtors’ Motion Pursuant to Fed. R.

    Bankr. P. 9019 for Approval of the RMBS Trust Settlement Agreements [Docket No. 2825] at 17–18.
2037 See, e.g., Motion of the Official Committee of Unsecured Creditors for Entry of an Order Authorizing the

    Committee to Prosecute and Settle Certain Claims on Behalf of the Debtors’ Estates [Docket No. 3412] at 1
    (seeking authority to pursue claims that “may render AFI liable for the entire $20-25 billion of the estates’
    unsecured liabilities”).
2038 See Ally Financial Inc., Quarterly Report (Form 10-Q) (Apr. 27, 2012), at 69, 73.

2039 See E-mail from T. Devine (May 7, 2012) [EXAM00345282].

2040 See E-mail from T. Devine to K. Patrick (May 8, 2012), at EXAM00180194 [EXAM00180193] (“I’m getting

    lots of pressure on valuation now.”); E-mail from M. Carpenter (May 10, 2012) [CCM00120369] (“The big
    negotiating point was the amount of claims we would agree to (because this sets up for the next negotiation
    with eg Wells).”); see also Int. of K. Patrick, Mar. 18, 2013, at 191:10–194:9.

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concludes that the evidence supports the proposition that the process underlying the RMBS
Trust Settlement Agreements and RMBS Plan Support Agreements was sufficiently robust to
satisfy the “arm’s length bargaining” factor under Rule 9019.

                  (2) ResCap Board Approval Process

     The objectors to the RMBS Trust Settlement Agreements argue that the ResCap Board
“rubber-stamped” the RMBS Trust Settlement Agreements on May 9, 2012 after reviewing a
“cursory” and “flawed” presentation.2041

     The presentation provided to the ResCap Board on May 9, 2012 showed that the
proposed $8.7 billion allowed claim amount implied a 19.72% defect rate, and presented a
comparison to what the proposed claim amount would have been if supposedly comparable
alternative defect rates had been used.2042 Specifically, the presentation showed that if the
“BofA Baseline—36%” defect rate had been applied to the approximately $44.1 billion
estimated lifetime losses for ResCap’s RMBS issuance, the allowed claim amount would have
been approximately $15.9 billion.2043 As discussed above in Section III.J.4.e(1), ResCap’s
advisors knew or should have known that the 36% “baseline” Bank of America defect rate
was not “apples to apples” with the 19.72% ResCap “settlement” defect rate.2044 An “apples to
apples” calculation based on the Bank of America materials provided to ResCap’s advisors by
the Steering Committee Group would have yielded a defect rate of approximately 14.4%, not
36%.2045 If a 14.4% rate had been applied to ResCap’s $44.1 billion estimated lifetime losses,
the comparative allowed claim amount would have been approximately $6.35 billion. At least




2041 See Objection of the Official Committee of Unsecured Creditors to the Debtors’ Motion Pursuant to Fed. R.

    Bankr. P. 9019 for Approval of the RMBS Trust Settlement Agreements [Docket No. 2825] at 18; see also
    Objection of Financial Guaranty Insurance Company to the Debtors’ Second Supplemental Motion Pursuant
    to Fed. R. Bankr. P. 9019 for Approval of RMBS Trust Settlement Agreements [Docket No. 2819] ¶ 4, 26–
    32; Objection of Wilmington Trust, National Association to the Debtors’ Second Supplemental Motion
    Pursuant to Fed. R. Bankr. P. 9019 for Approval of RMBS Trust Settlement Agreements [Docket No. 2814]
    at 2. The RMBS objectors also assert that the Debtors and the ResCap Board breached their fiduciary duties
    to creditors by approving the RMBS Trust Settlement Agreements. See Objection of Financial Guaranty
    Insurance Company to the Debtors’ Second Supplemental Motion Pursuant to Fed. R. Bankr. P. 9019 for
    Approval of RMBS Trust Settlement Agreements [Docket No. 2819] ¶ 41–43. For the Examiner’s analysis of
    potential breach of fiduciary duty claims in connection with the ResCap Board’s approval of the RMBS Trust
    Settlement Agreements, see Section VII.E.
2042 See ResCap Private Label Securities Rep & Warrant Settlement Discussion Supporting Information, dated

    May 9, 2012, at RC40020578 [RC40020575].
2043 See id.

2044 As discussed in Section III.J.4.e(1), the 19.72% “settlement” defect rate reflected a calculation of the $8.7

    billion total allowed claim divided by the $44.1 billion estimated aggregate losses.
2045 See BOA Loss Estimation [EXAM00180200] (attached to E-mail from D. Sheeren to G. Lee (May 8, 2012)

    [EXAM00180199]).

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one ResCap Board member, John Mack, apparently relied on the flawed comparative figures
in evaluating the reasonableness of the $8.7 billion allowed claim amount.2046

     The presence of flawed comparative data points in the May 9, 2012 presentation does
not, by itself, render the ResCap Board approval process inadequate. The May 9, 2012
presentation set forth in detail other information that the ResCap Board needed to understand
to make an informed decision to approve the RMBS Trust Settlement Agreements and the
RMBS Plan Support Agreements.2047 According to Jim Whitlinger, the comparative data
points were not the primary focus of the presentation to the ResCap Board:

                 We had, you know, conversations regarding the types of claims
                 that could be brought forth. Our lawyers and our advisors and
                 our numbers people had talked about what types of risk could
                 come from litigation and our advisors told us that this settlement
                 was a good settlement based on all those risks. It wasn’t pointed
                 to just saying this Lehman claim amount defect rate or this
                 BofA baseline defect rate is the most important thing on this
                 page. It’s a data point.2048

     In addition, the ResCap Board had significant experience and familiarity with the issues
underlying the settlements.2049 Because of that familiarity with the underlying issues, the brief
time allotted for consideration of the proposed settlement (approximately thirty minutes) does
not necessarily mean the consideration was inadequate. Certain ResCap Board members
explained that they independently believed the $8.7 billion allowed claim settlement was
appropriate based on their understanding of the claims at issue and past review of internal




2046 See Dep. of J. Mack, Nov. 14, 2012, at 68:8–71:7 (“[W]e thought the number was—well, it was, by evidence,

   lower than two other settlements, one of which Ms. Patrick had been engaged with. That was the Bank of
   America. And it was within the range of defects that we his—we, ResCap, historically had. It was kind of the
   midpoint of that range. So in a market sense, it seemed to be a reasonable number. . . . The BofA defect rate
   was higher. That’s what I was looking at.”).
2047 See ResCap Private Label Securities Rep & Warrant Settlement Discussion Supporting Information, dated

   May 9, 2012, at RC40020579 [RC40020575].
2048 Dep. of J. Whitlinger, Nov. 15, 2012, 45:6–46:13

2049 See id. at 30:23–31:5 (“[W]hen we talk about rep and warrant topics, the board has had plenty of experience

   around this discussion with our advisors, with our accounting policy teams and in-house counsel.”); see also
   Draft Minutes of a Regular Meeting of the Board of Residential Capital, LLC, May 4, 2012, at 2
   [EXAM11088898] (“Lee discussed the status of a proposed settlement of certain representation and warranty
   and private label securitization litigation claims.”); Minutes of a Regular Meeting of the Board of Residential
   Capital, LLC, July 1, 2011, at RC40018628 [RC40018411] (Devine gave a “detailed presentation” to the
   ResCap Board regarding, among other things, PLS investor litigation and representation and warranty
   litigation); Int. of T. Devine, Mar. 19, 2013, at 20:9–21:12 (ResCap management was “deeply familiar” with
   representation and warranty claims).

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ResCap analyses.2050 The Examiner concludes that, while it is a close question, it is more
likely than not that a court would find that the ResCap Board had a sufficient understanding of
the underlying Trust R&W Claims to vote on an informed basis with respect to the RMBS
Trust Settlement Agreements.

     Importantly, when the ResCap Board voted to approve the RMBS Trust Settlement
Agreements, it understood that a settlement with the RMBS Institutional Investors on the
allowed amount of Trust R&W Claims was critical to achieving a successful sale of ResCap’s
mortgage loan origination and servicing platform.2051 Accordingly, the Examiner concludes
that the evidence supports the proposition that the ResCap Board had a rational business
purpose in mind when it approved the RMBS Trust Settlement Agreements.

     While the May 9, 2012 presentation to the ResCap Board was flawed, the Examiner does
not believe that such flaws undermine the conclusion that the settlement negotiations between
ResCap, AFI, and the Steering Committee Group were conducted at arm’s length.

               (3) Disclosure Of Reasonably Possible Losses On Trust R&W Claims

      As noted above, just a few weeks before the $8.7 billion claim amount was agreed upon
in connection with the RMBS Trust Settlement Agreements, AFI publicly disclosed that
“ResCap’s reasonably possible losses over time related to the litigation matters and potential
repurchase obligations . . . could be between $0 and $4 billion over existing accruals.”2052 In
that same SEC filing, AFI disclosed it had established a reserve of $811 million for such
liabilities.2053
2050 See Int. of J. Ilany, Nov. 28, 2012, at 169:9–173:24 (“[W]e looked at numbers that were in the 40-plus, $50

    billion type of numbers, and that we settled it in 20 cents on the dollars, and that given the recovery
    expectation . . . that ResCap had, because everybody in the industry has different ones, the number we
    thought could be as high as—closer to [$]20 billion.”); see also Int. of P. West, Jan. 11, 2013, at 188:17–
    189:4 (“[A]s we looked at where we had settled claims in the past which was somewhere between 10 and 30
    percent, we looked at some market data and said, you know, if we can settle the 45 billion for 20 percent, that
    that would be a good thing to do.”).
2051 See Dep. of T. Marano, Nov. 12, 2012, at 171:8–176:12 (“[R]esolution of the PLS claims was critical to

    enhancing the value of the platform for a sale. . . . [B]y settling those claims, we put the assets in a position
    where . . . [w]e could sell them at a higher price.”); Int. of E. Smith, Nov. 30, 2012, at 193:14–195:6 (“[W]e
    were trying to maximize the pie for creditors. Part of doing that was selling the platform and the legacy
    bonds. And, without that [RMBS Trust] settlement, I don’t think we could have sold the mortgage platform
    for anything close to what we sold it for, $3 billion. I think that it would be at least $1 billion less.”); Int. of J.
    Ilany, Nov. 28, 2012, at 169:9–173:24 (“[W]ithout getting a release from the trustees, this transaction is not
    closing. . . . It’s not closing because nobody’s buying. You need to inoculate this platform and this platform,
    somebody bid $3 billion for it, a big number for the creditors . . . .”); Int. of P. West, Jan. 11, 2013, at 190:9–
    16 (“[Y]ou’ve got to have, you know, we wanted to have a settlement of RMBS claims. So, we had a window
    to sell a very clean platform.”); Int. of J. Mack, Jan. 15, 2013, at 211:19–212:4 (“[T]he RMBS Trust
    Settlement, to me, . . . allows us to sell a clean platform, the value of which [inures] to all of the creditors. So
    that’s a huge benefit to the creditors, being able to sell a clean platform.”).
2052 See Ally Financial Inc., Quarterly Report (Form 10-Q) (Apr. 27, 2012), at 73.

2053 See id. at 69.



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     The Creditors’ Committee has suggested that a comparison between the claim amount
ultimately agreed with the Steering Committee Group and the exposure disclosed in AFI’s
SEC filing is evidence of a flawed negotiation process.2054 To explain the apparent
discrepancy between the settlement amount and AFI’s disclosures to the SEC, the Debtors
assert that the $0 to $4 billion range estimates the liability that the Debtors “would have faced
had they continued as [a] going concern outside of bankruptcy.”2055 The Debtors note that the
disclosed range was based on non-litigation loan repurchase history, for the “obvious” reason
that not one trust had brought a lawsuit against the Debtors before that point in time. The
Debtors then contrast these facts with the proposed $8.7 billion allowed claim amount under
the RMBS Trust Settlement Agreements. The Debtors assert the $8.7 billion reflected the
assumption that all of the 392 trusts would assert all claims against the Debtors through the
proof of claim process in the Chapter 11 Cases.2056

     The Debtors assert that AFI was required to disclose and estimate, if possible, its
“reasonably possible” future losses.2057 In a presentation to the AFI Audit Committee dated
July 27, 2011, AFI noted several factors that contributed to AFI’s inability to estimate a
reasonably possible range of loss in excess of its then current reserve levels with respect to
representation and warranty claims, including: (1) there were limited data points for
comparative purposes; (2) loss calculation required a loan-by-loan review; and (3) there were
significant hurdles for plaintiffs, including the requirement that investors comprise 25% of a
class of securities issued by a trust before the trust can pursue representation and warranty
claims.2058

      In the first quarter of 2012, AFI determined that estimation of losses was possible. In an
internal accounting memo, AFI referred to several factors in support of its decision that it was
now possible for AFI to report a range of possible losses, including: (1) increased activity by
trustees relating to PLS representation and warranty claims on behalf of investors;
(2) increased activity by investors in their own right relating to PLS representation and
warranty claims, “including additional clarity regarding extent of investor power to compel
trustees to make PLS R&W claims”; and (3) developments in AFI’s PLS representation and
warranty cases.2059 AFI’s internal accounting memo specifically referred to the “substantial
engagement with Gibbs & Bruns” and “substantial engagement with Talcott Franklin.”2060
2054 See Objection of the Official Committee of Unsecured Creditors to the Debtors’ Motion Pursuant to Fed. R.

    Bankr. P. 9019 for Approval of the RMBS Trust Settlement Agreements [Docket No. 2825] at 14–15, 18.
2055 Debtors’
            Reply Brief re Iridium Factors in Support of Motion for Approval of RMBS Settlement
    Agreements, dated Jan. 15, 2012, at 54.
2056 Id.

2057 Id. at 53.

2058 See AFI Audit Committee     Mortgage Contingencies Review with Disclosure Benchmarking Presentation,
    dated July 27, 2011, at 8–9 [RC40021333].
2059 Memorandum, Legal/Rep and Warrant—Range of Reasonably Possible Loss Disclosure Considerations—Q1

    2012, dated Apr. 27, 2012, at 1–2 [ALLY_PEO_0074712].
2060 Id.



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      As of April 27, 2012, the same date of AFI’s accounting memo in which AFI estimated
its range of reasonably possible losses at $0 to $4 billion above its accrual of $811 million,
ResCap, with AFI’s knowledge, was presenting scenarios in which the allowed amount of
Trust R&W Claims ranged from $3 to $6 billion, and AFI knew that this range was likely too
low.2061 There is a disconnect between AFI’s disclosures in its SEC filings and the settlement
discussions with Patrick. As discussed above, Devine was concerned that this disconnect
could give rise to “securities/SEC/disclosure” risk for AFI.2062 On balance, the Examiner
believes that AFI’s SEC disclosures for the first quarter of 2012 offer relatively little guidance
in the Investigation as to whether the negotiations between AFI, ResCap, and the Steering
Committee Group were at arm’s length. The evidence demonstrates that AFI was considering
claims in excess of its SEC disclosure before its 10-Q was filed—it is not the case that AFI
believed on April 27 that $4.8 billion was the maximum claim that could be asserted in
bankruptcy and later influenced ResCap to agree to settle at a number twice that amount.
Instead, from the start, AFI seemingly understood that representation and warranty litigation
exposure could well exceed the $4.8 billion disclosed, which disclosure appeared to rely on
different assumptions and circumstances than ultimately came to fruition through the RMBS
Trust Settlement Agreements.2063

      5. The Now-Terminated Junior Secured Noteholders’ Plan Support Agreement

     On May 13, 2012, the Debtors, AFI, and the Consenting Junior Secured Noteholders2064
entered into the Junior Secured Noteholders’ Plan Support Agreement. The Junior Secured
Noteholders’ Plan Support Agreement provided for an intercreditor settlement between AFI
and the Consenting Junior Secured Noteholders as to the division of collateral in which both
parties purportedly hold security interests.2065
2061 See E-mail from T. Devine to T. Hamzehpour (Apr. 23, 2012) [EXAM00345835].

2062 SeeE-mail from T. Devine (May 7, 2012) [EXAM00345282]; Dep. of T. Devine, Nov. 19, 2012, at
    201:11–25.
2063 To be clear, by noting that SEC disclosure requirements and settlement considerations differ, the Examiner is

    not opining on AFI’s disclosure obligations pursuant to GAAP requirements or relevant accounting
    regulations. AFI’s reporting requirements and the considerations in the RMBS Trust Settlement Agreements
    may not have been the same. See E-mails between J. Mackey, D. DeBrunner, and C. Dondzila (Apr. 27,
    2012) [ALLY_0226233] (noting that range of $0-$4 billion had been revised from earlier draft of $3-$7
    billion and that “finalized proposed range” was based on, among other things, a “variety of discussions with
    the auditors”).
2064 As of June 11, 2012, the ad hoc group of Consenting Junior Secured Noteholders consisted of the following

    entities: Alliance Bernstein LP; Appaloosa Management LP; Davidson Kempner Capital Management LLC;
    DO S1 Limited; Loomis, Sayles & Company, L.P.; Marathon Asset Management, L.P.; P. Schoenfeld Asset
    Management LP; Pentwater Capital Management LP; Silver Point Finance, LLC; Taconic Capital Advisors
    LP; Venor Capital Management LP; York Capital Management. See Notice Of Filing Of Corrected Exhibit A
    To Verified Statement Of White & Case LLP Pursuant To Federal Rule Of Bankruptcy Procedure 2019
    [Docket No. 488].
2065 Junior Secured Noteholders’ Plan Support Agreement, at 2. The Debtors attested that, “[b]esides for
    obtaining the support of a key creditor constituency, the settlement with the junior secured noteholders also
    has the benefit of reducing the estate’s interest obligations by $350 million.” First Day Affidavit, ¶ 108.

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      The Junior Secured Noteholders’ Plan Support Agreement was terminated by the
Consenting Junior Secured Noteholders on or about September 28, 2012.2066 Because the
Junior Secured Noteholders’ Plan Support Agreement was primarily an intercreditor
settlement and because it was terminated approximately two months after the entry of the
Examiner Scope Approval Order, the Examiner did not investigate the process underlying the
negotiation and entry into that settlement. Presented below are certain terms of the Junior
Secured Noteholders’ Plan Support Agreement, as it existed on the Petition Date.

                       a. AFI Intercreditor Settlement With Consenting Junior Secured
                          Noteholders

     Pursuant to the Junior Secured Noteholders’ Plan Support Agreement, distribution of
proceeds from Joint Collateral would have occurred in the following sequence:2067

           •   AFI would receive first payment of proceeds from Joint Collateral in the amount of
               $400 million plus postpetition interest accrued on account of $400 million;

           •   Holders of Junior Secured Notes Claims would receive the next $1 billion;

           •   Holders of Junior Secured Notes Claims would receive 81% of the next proceeds
               from Joint Collateral (and AFI would receive 19%) until the Junior Secured Notes
               Claims have been paid in full;

           •   AFI would receive all remaining proceeds from Joint Collateral up to the full
               amount of the AFI Secured Revolver Facility Claims plus all postpetition interest
               accrued on account of the AFI Secured Revolver Facility Claims to the extent such
               interest has not been paid.

     If the proceeds from Joint Collateral were insufficient to pay the AFI Secured Revolver
Facility Claims and the Junior Secured Notes Claims in full, distributions under the Plan on
account of the related deficiency claims would have occurred as follows:

           •   Holders of Junior Secured Notes Claims would receive 81% of deficiency
               distributions (and AFI would receive 19%) until Junior Secured Notes Claims have
               been paid in full;

           •   AFI would receive all remaining deficiency distributions.
2066 SeeE-mail from G. Proia (Sept. 26, 2012) [ALLY_0209104]; E-mail from G. Proia (Sept. 28, 2012)
    [ALLY_0209106]. According to a statement from AFI, the termination enabled the Consenting Junior
    Secured Noteholders to transfer rights in and sell claims arising under the Junior Secured Notes “without
    waiving the right to accrued and unpaid interest” during the Chapter 11 Cases, and “also free[d] [AFI] from
    subordinating its recovery by $350 million.” Id.
2067 Junior Secured Noteholders’ Plan Support Agreement, §§ 5.1, 5.2. In the event of a section 363 sale, the

    Debtors were to seek authority to pay the holders of Junior Secured Notes Claims in advance of confirmation
    of a plan of reorganization. See id. § 5.5.

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                           b. Conditional Waiver Of Interest On Joint Collateral

     The Consenting Junior Secured Noteholders agreed to waive all rights to any interest on
account of the Junior Secured Notes Claims that may be due and owing after the Petition Date
through and including December 31, 2012.2068 That proposed interest waiver was contingent
upon the Debtors’ compliance with certain deadlines and conditions regarding the Effective
Date of the Plan, among other things. Because such deadlines were not met, the terms of the
proposed interest waiver would need to be renegotiated by the parties in connection with any
new plan support agreement or intercreditor settlement with the Junior Secured Noteholders.


                           c. AFI’s Obligations Under Junior Secured Noteholders’ Plan Support
                              Agreement

     Under the Junior Secured Noteholders’ Plan Support Agreement, in addition to its
general obligations to support the Debtors’ restructuring efforts consistent with the AFI
Settlement and Plan Sponsor Agreement, AFI agreed to support the prompt payment of
proceeds of the Platform Sale and any other assets and cash on hand that represent Joint
Collateral or proceeds thereof to the Consenting Junior Secured Noteholders.2069

                           d. Consenting Junior Secured Noteholders’ Obligations Under Junior
                              Secured Noteholders’ Plan Support Agreement

     Under the Junior Secured Noteholders’ Plan Support Agreement, the Consenting Junior
Secured Noteholders agreed to the following obligations: (1) support the Debtors’ efforts to
pursue the restructuring contemplated by the Plan Term Sheet;2070 (2) support approval of the
Cash Collateral Order, Disclosure Statement, DIP facilities, and the relief requested in all first
day pleadings;2071 (3) not contest the validity and enforceability of the Intercreditor
Agreement;2072 and (4) vote to accept the plan, and support confirmation of the plan, including
the Debtor Release and Third-Party Release.2073 In addition, the Consenting Junior Secured
Noteholders agreed to restrict themselves from transfer of claims unless the transferee agreed
to be bound by the terms of the Junior Secured Noteholders’ Plan Support Agreement.2074



2068 Id. § 5.4(a). After Dec. 31, 2012, the Consenting Junior Secured Noteholders may seek a determination from

    the Bankruptcy Court that the holders of Junior Secured Notes Claims are entitled to receive postpetition
    interest accruing from and after January 1, 2013. See id.
2069 Id. § 3.1(h).

2070 Id. § 4.1(a).

2071 Id. §§ 4.1(b), (d).

2072 Id. § 4.1(c).

2073 Id. §§ 4.1(f), (g).

2074 Id. § 4.2.



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                           e. Debtors’ Obligations Under Junior Secured Noteholders’ Plan Support
                              Agreement

     Under the Junior Secured Noteholders’ Plan Support Agreement, the Debtors agreed to
the following obligations: (1) use good faith obligations to consummate the restructuring as
set forth in the Plan Term Sheet and seek bankruptcy court approval of the Junior Secured
Noteholders’ Plan Support Agreement;2075 (2) in the Cash Collateral Order, stipulate to the
validity of the liens securing the Junior Secured Notes Claims and grant adequate protection
for the Junior Secured Notes Claims;2076 (3) reimburse or pay the out-of-pocket costs and
expenses reasonably incurred by the Ad Hoc Group as allowed administrative expenses
pursuant to Bankruptcy Code sections 503(b)(1) and 507(a)(2).2077




2075 Id. §§ 2.1(a), (d).

2076 Id. §§ 2.1(b), (c).

2077 Id. §§ 2.3(b), 11.1(a)(3).



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